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                    IRAN 2019 HUMAN RIGHTS REPORT

EXECUTIVE SUMMARY

The Islamic Republic of Iran is an authoritarian theocratic republic with a Shia
Islamic political system based on velayat-e faqih (guardianship of the jurist). Shia
clergy, most notably the rahbar (supreme leader), and political leaders vetted by
the clergy dominate key power structures. The supreme leader is the head of state.
The members of the Assembly of Experts are nominally directly elected in popular
elections. The assembly selects and may dismiss the supreme leader. The
candidates for the Assembly of Experts, however, are vetted by the Guardian
Council (see below) and are therefore selected indirectly by the supreme leader
himself. Ayatollah Ali Khamenei has held the position since 1989. He has direct
or indirect control over the legislative and executive branches of government
through unelected councils under his authority. The supreme leader holds
constitutional authority over the judiciary, government-run media, and other key
institutions. While mechanisms for popular election exist for the president, who is
head of government, and for the Islamic Consultative Assembly (parliament or
majles), the unelected Guardian Council vets candidates, routinely disqualifying
them based on political or other considerations, and controls the election process.
The supreme leader appoints half of the 12-member Guardian Council, while the
head of the judiciary (who is appointed by the supreme leader) appoints the other
half. Parliamentary elections held in 2016 and presidential elections held in 2017
were not considered free and fair.

The supreme leader holds ultimate authority over all security agencies. Several
agencies share responsibility for law enforcement and maintaining order, including
the Ministry of Intelligence and Security and law enforcement forces under the
Interior Ministry, which report to the president, and the Islamic Revolutionary
Guard Corps (IRGC), which reports directly to the supreme leader. The Basij, a
volunteer paramilitary group with local organizations across the country,
sometimes acted as an auxiliary law enforcement unit subordinate to IRGC ground
forces. The IRGC and the national army, or “Artesh,” provided external defense.
Civilian authorities maintained effective control over the security forces.

In response to widespread protests that began November 15 after a fuel price
increase, the government blocked almost all international and local internet
connections for most of a week, and security forces used lethal force to end the
protests, killing approximately 1,500 persons and detaining 8,600, according to
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international media reports. There was no indication government entities were
pursuing independent or impartial investigations into protester deaths.

Significant human rights issues included executions for crimes not meeting the
international legal standard of “most serious crimes” and without fair trials of
individuals, including juvenile offenders; numerous reports of unlawful or arbitrary
killings, forced disappearance, and torture by government agents, as well as
systematic use of arbitrary detention and imprisonment; harsh and life-threatening
prison conditions; hundreds of political prisoners; unlawful interference with
privacy; significant problems with independence of the judiciary, particularly the
revolutionary courts; severe restrictions on free expression, the press, and the
internet, including violence, threats of violence, and unjustified arrests and
prosecutions against journalists, censorship, site blocking, and criminalization of
libel; substantial interference with the rights of peaceful assembly and freedom of
association, such as overly restrictive nongovernmental organization (NGO) laws;
severe restrictions of religious freedom; restrictions on political participation
through arbitrary candidate vetting; widespread corruption at all levels of
government; unlawful recruitment of child soldiers by government actors to
support the Assad regime in Syria; trafficking in persons; violence against ethnic
minorities; harsh governmental restrictions on the rights of women and minorities;
crimes involving violence or threats of violence targeting lesbian, gay, bisexual,
transgender, and intersex (LGBTI) persons; criminalization of LGBTI status or
conduct; and outlawing of independent trade unions.

Despite repeated calls from the international community, including the United
Nations, the government effectively took no steps to investigate, prosecute, punish,
or otherwise hold accountable officials who committed these abuses, many of
which were perpetrated as a matter of government policy. This included abuses
and numerous suspicious deaths in custody from previous years. Impunity
remained pervasive throughout all levels of the government and security forces.

Government officials materially contributed to human rights abuses in Syria,
through their military support for Syrian President Bashar Assad and Hizballah
forces; in Iraq, through aid to pro-Iran militia groups; and in Yemen, through
support for Houthi rebels, who targeted civilians and civilian infrastructure in
Yemen and Saudi Arabia.

Section 1. Respect for the Integrity of the Person, Including Freedom from:



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a. Arbitrary Deprivation of Life and Other Unlawful or Politically Motivated
Killings

The government and its agents reportedly committed arbitrary or unlawful killings,
most commonly by execution after arrest and trial without due process, or for
crimes that did not meet the international threshold of “most serious crimes.”
Media and human rights groups also documented suspicious deaths while in
custody or following beatings of protesters by security forces throughout the year.

On December 23, Reuters reported that the supreme leader ordered security forces
to do “whatever it takes” to end several days of protests against a hike in fuel
prices on November 15. Security forces killed approximately 1,500 persons across
the country in response to the demonstrations, according to the Reuters report,
which was sourced to four unidentified government officials. In a December 16
report, Amnesty International cited at least 304 persons killed by security forces in
the demonstrations. Authorities reportedly used firearms, water cannons, tear gas,
and snipers against the largely peaceful protesters. In one incident in the city of
Mahshahr, IRGC forces reportedly shot and killed up to 100 protesters who had
sought refuge in a marsh, after authorities violently dispersed the initial protest in
an adjacent town, according to media and NGO reporting based on witness
accounts. As of December 26, there was no indication that officials were
conducting impartial investigations into those deaths or, more broadly, into law
enforcement officials’ use of excessive force to repress protests. Government
officials asserted casualty figures in international media and NGO reports were
“fake news.”

In June, Amnesty International called on authorities to investigate the suspicious
circumstances surrounding the death of Benyamin Alboghbiesh, a 28-year-old
Ahwazi Arab held at a detention center in Ahvaz believed to be under the control
of the IRGC. Authorities initially detained Alboghbiesh, along with his brother
and mother, for several months beginning in March 2018, on unspecified national
security accusations. All three individuals were rearrested on May 26, and the
IRGC reportedly notified Alboghbiesh’s family of his death on June 26. There
was no information available on any investigation into the cause of Alboghbiesh’s
death.

As documented by international human rights observers, revolutionary courts
continued to issue the vast majority of death sentences, and trials lacked due
process. Legal representation was denied during the investigation phase, and in
most cases, no evidence other than confessions, often reportedly extracted through

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torture, was considered. Judges may also impose the death penalty on appeal,
which deterred appeals in criminal cases. According to the NGO Human Rights
Activists in Iran, the government does not disclose accurate numbers of those
executed, and as many as 60 percent of executions are kept secret. As of
December 11, NGOs Iran Human Rights Documentation Center (IHRDC) and the
Abdorrahman Boroumand Center reported there were more than 200 executions
during the year, while the government officially announced only 62 executions in
that time period. The government often did not release further information, such as
names of those executed, execution dates, or crimes for which they were executed.

The Islamic penal code allows for the execution of juvenile offenders starting at
age nine for girls and age 13 for boys, the legal age of majority. The government
continued to execute individuals sentenced for crimes committed before the age of
18. According to Amnesty International, authorities executed seven persons in
2018 who were children at the time of their alleged crimes. In May, UN human
rights experts expressed serious concerns for the up to 90 individuals on death row
for alleged offenses committed when they were younger than age 18.

In May, according to widespread media and NGO reports, authorities in Adel Abad
Prison in Shiraz secretly executed two 17-year-olds, Mehdi Sohrabifar and Amin
Sedaghat. According to the reports, authorities arrested the two boys in 2017 when
they were 15 on various accusations, including alleged rape. Reporting indicated a
court convicted the two teens following a “grossly unfair” trial and that they were
flogged before their execution.

According to human rights organizations and media reports, the government
continued to carry out some executions by torture, including hanging by cranes.
Prisoners are lifted from the ground by their necks and die slowly by asphyxiation.
In addition, adultery remains punishable by death by stoning, although provincial
authorities were reportedly ordered not to provide public information about stoning
sentences since 2001, according to the NGO Justice for Iran.

Although the majority of executions during the year were reportedly for murder,
the law also provides for the death penalty in cases of conviction for “attempts
against the security of the state,” “outrage against high-ranking officials,”
moharebeh (which has a variety of broad interpretations, including “waging war
against God”), fisad fil-arz (corruption on earth, including apostasy or heresy),
rape, adultery, recidivist alcohol use, consensual same-sex sexual conduct, and
“insults against the memory of Imam Khomeini and against the supreme leader of
the Islamic Republic.”

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Prosecutors frequently used “waging war against God” as a capital offense against
political dissidents and journalists, accusing them of “struggling against the
precepts of Islam” and against the state that upholds those precepts. Authorities
expanded the scope of this charge to include “working to undermine the Islamic
establishment” and “cooperating with foreign agents or entities.”

The judiciary is required to review and validate death sentences.

On April 17, an appeals court ordered the release of spiritual leader and founder of
the spiritual doctrine Interuniversalism and the Erfan-e Halgheh group Mohammad
Ali Taheri, who had twice been sentenced to death. On April 24, Judiciary
Spokesperson Gholam-Hossein Esmaili stated all outstanding sentences in Taheri’s
case had been rescinded but that he was “still under certain legal and social
restrictions” in proportion to his alleged crimes. Taheri had been in prison--mostly
in solitary confinement--since his arrest in 2011. He was sentenced to five years in
2011 for “insulting the sanctities,” then sentenced to death in 2015 for “corruption
on earth,” and sentenced to death for a second time in 2017.

As of November the overall number of executions remained low in comparison
with previous years, reportedly as a result of a 2017 amendment to the 1997 Law
to Combat Drugs raising the threshold for the death penalty for drug-related
offenses. Under the amended law, capital punishment applies to the possession,
sale, or transport of more than approximately 110 pounds of natural drugs, such as
opium, or approximately 4.4 to 6.6 pounds of manufactured narcotics, such as
heroin or cocaine. According to the previous law, capital punishment applied to
similar offenses involving slightly more than 11 pounds of natural drugs or two-
thirds of a pound of manufactured drugs. Capital punishment, however, still
applies to drug offenses involving smaller quantities of narcotics, if the crime is
carried out using weapons, employing minors, or involving someone in a
leadership role in a trafficking ring or someone who has previously been convicted
of drug crimes and given a prison sentence of more than 15 years.

Terrorist groups also committed killings during the year. On February 13,
according to international and state media reporting, a suicide bomber targeted a
bus transporting IRGC personnel in Sistan va Baluchestan Province, near the
border with Pakistan. The bombing killed at least 27 members of the IRGC and
wounded 13 others. Jaish al-Adl, a Sunni Muslim militant group, claimed
responsibility for the bombing.


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b. Disappearance

There were reports of politically motivated abductions during the year attributed to
government officials. Plainclothes officials seized journalists and activists without
warning, and government officials refused to acknowledge custody or provide
information on them. In most cases the government made no efforts to prevent,
investigate, or punish such acts.

In July, Amnesty International reported authorities were using incommunicado
detention, as well as prolonged solitary confinement and threats against family
members, to extract forced video “confessions” from women’s rights defenders
detained for campaigning against the country’s mandatory hijab law. Amnesty
highlighted the case of Saba Kordafshari, whose fate and whereabouts the
government concealed from her family for 12 days. On August 27, a revolutionary
court sentenced Kordafshari to 24 years in prison for protesting compulsory hijab.

In July, IranWire, a human rights reporting agency, reported on the case of Hamed
Rezvani, a Bahai musician and teacher, who left his home in Isfahan in December
2018 and has not been heard from since. Repeated requests by Rezvani’s family
members for information from police and local intelligence agents have not
produced any information about his disappearance. According to IranWire,
Intelligence Ministry agents also raided Rezvani’s home in 2016 under the pretext
that Rezvani had spread “propaganda against the regime” through spreading the
Bahai faith; he was beaten and detained for 21 days.

c. Torture and Other Cruel, Inhuman, or Degrading Treatment or
Punishment

Although the constitution prohibits all forms of torture “for the purpose of
extracting confession or acquiring information,” use of physical and mental torture
to coerce confessions remained prevalent, especially during pretrial detention.
There were credible reports that security forces and prison personnel tortured and
abused detainees and prisoners throughout the year.

Impunity remained a problem within all security forces. Human rights groups
frequently accused regular and paramilitary security forces, such as the Basij, of
committing numerous human rights abuses, including acts of violence against
protesters and participants in public demonstrations. According to Tehran
Prosecutor General Abbas Jafari-Dolatabadi, the attorney general is responsible for
investigating and punishing security force abuses, but the process was not

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transparent, and there were few reports of government actions to discipline
abusers.

Commonly reported methods of torture and abuse in prisons included threats of
execution or rape, forced tests of virginity and “sodomy,” sleep deprivation,
electroshock, including the shocking of genitals, burnings, the use of pressure
positions, and severe and repeated beatings.

Human rights organizations frequently cited some prison facilities, including Evin
Prison in Tehran and Rajai Shahr Prison in Karaj, for their use of cruel and
prolonged torture of political opponents, particularly Wards 209 and Two of Evin
Prison, reportedly controlled by the IRGC.

Numerous human rights organizations, including the Center for Human Rights in
Iran (CHRI), reported on allegations that in late 2018 Intelligence Ministry agents
tortured Esmail Bakhshi, a labor activist and leading representative of Haft Tappeh
Sugarcane Company workers in Khuzestan Province, and Sepideh Gholian, a
journalist and human rights activist. Both Bakhshi and Gholian were forced to
make confessions that the state-owned Islamic Republic of Iran Broadcasting
(IRIB) broadcast. Authorities released both individuals in December 2018.

On January 4, Bakhshi posted a letter on Instagram stating he was severely beaten
during his 25 days of detention following his arrest in November 2018. Bakhshi,
referring to the Intelligence Ministry agents, said, “[T]hey tortured me and beat me
with their fists and kicked me until I was going to die. They beat me so much I
couldn’t move in my cell for 72 hours… I turned into a washed-up rat. My hands
are still trembling. I still get severe panic attacks.” Gholian said she witnessed
authorities severely beating Bakhshi at the time of his arrest when they were
peacefully protesting unpaid wages for fellow Haft Tappeh workers. Despite
demands for an investigation following Bakhshi’s disclosure, no one has been held
accountable. On January 20, Bakhshi and Gholian were rearrested. BBC Persian
broadcast a video of Gholian recorded prior to her second arrest saying authorities
beat her with a cable to force her to confess that she was “after overthrowing the
government and hijacking the demands of the laborers in Iran.” Authorities
reportedly released Gholian and Bakhshi on unusually high bail amounts of nearly
three billion rials (more than $70,000) on October 30. Authorities again arrested
Gholian on November 17 for participating in the fuel price demonstrations (see
section 1.a.) and released her on December 3 on bail of two billion rials ($47,000).
According to a report by Haft Tappeh activists on the messaging app Telegram, an
appellate court sentenced Bakhshi, Gholian, and five others to five years in prison

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on December 14. As of December 16, they had not been rearrested to serve these
sentences.

NGOs reported that predominantly Shia prison guards tortured numerous Sunni
Muslim prisoners at Ardabil Prison for their religious beliefs. Guards also
reportedly retaliated against prisoners for “security issues” that occurred elsewhere
in the country. According to reports, torture at Ardabil included severe beatings,
being tied to flag poles for prolonged durations of time, and being forced to watch
executions of fellow prisoners.

Authorities also allegedly maintained unofficial secret prisons and detention
centers, outside the national prison system, where abuse reportedly occurred.

Judicially sanctioned corporal punishments continued. These included flogging,
blinding, stoning, and amputation, which the government defends as “punishment,”
not torture. At least 148 crimes are punishable by flogging, while 20 can carry the
penalty of amputation.

According to media and NGO reports, in October authorities in Mazandaran
amputated the hand of a man imprisoned for theft. According to a media report in
May, 23 prisoners convicted of theft and held at the Greater Tehran Prison were
awaiting hand amputation. State media reported Attorney General Mohammad
Jafar Montazeri stating he regretted that international pressure had caused an
alleged drop in amputations in the country.

In August, Amnesty International reported that authorities flogged Kurdish singer
and prisoner of conscience Peyman Mirzazadeh on July 28. According to the
report, officials flogged Mirzazadeh 100 times for a conviction of drinking alcohol,
and “insulting Islamic sanctities.” The flogging, which Amnesty characterized as
an “unspeakably cruel punishment,” left Mirzazadeh in agonizing pain with a
severely swollen back and legs.

In May, Tehran University student Parisa Rafiei alleged in an open letter that an
interrogator sent her to a medical examiner’s office for a “virginity test” after she
was arrested for participating in street protests. After Rafiei told officials she
would file a complaint, they reportedly withdrew the demand.

Extrajudicial punishments by authorities involving degrading public humiliation of
alleged offenders were also frequently reported throughout the year. The
government regularly forced alleged offenders to make videotaped confessions that

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the government later televised. On January 19, a state-run television channel aired
a “documentary” about labor rights in the country that included filmed
“confessions” of several prominent labor activists. Two of the activists said the
confessions were coerced.

Prison and Detention Center Conditions

Prison conditions were harsh and life threatening due to food shortages, gross
overcrowding, physical abuse, and inadequate sanitary conditions and medical
care. Prisoner hunger strikes in protest of their treatment were frequent.

Physical Conditions: Overcrowding remained a problem in prisons with many
prisoners forced to sleep on floors, in hallways, or in prison yards. In a 2018 local
media report, Asghar Jahangir, the country’s chief prison warden, estimated the
total number of prisoners at a quarter of a million, a threefold increase in 20 years.

There were reported deaths in custody and prisoner-on-prisoner violence, which
authorities sometimes failed to control. In June, CHRI reported that a prisoner
killed prisoner of conscience Alireza Shir Mohammad Ali in a knife attack at the
Greater Tehran Central Penitentiary. Shir Mohammad Ali was serving an eight-
year sentence based on content he posted on social media. He had protested being
kept in a ward with prisoners convicted of violent crimes; the law requires that
prisoners be separated by the type and duration of their sentence (see below).
Authorities prosecuted the prisoner accused of the killing, but there was no
information whether any prison officials were held accountable.

According to IranWire and human rights NGOs, guards beat both political and
nonpolitical prisoners during raids on wards, performed nude body searches in
front of other prisoners, and threatened prisoners’ families. In some instances,
according to the Human Rights Activists News Agency (HRANA), guards singled
out political prisoners for harsher treatment.

Prison authorities often refused to provide medical treatment for pre-existing
conditions, injuries that prisoners suffered at the hands of prison authorities, or
illnesses due to the poor sanitary conditions in prison. Human rights organizations
reported that authorities used denial of medical care as a form of punishment for
prisoners and as an intimidation tool against prisoners who filed complaints or
challenged authorities. On July 10, eight UN officials issued a statement
expressing serious concern about a consistent pattern of the government denying
medical treatment to detainees. The statement cited the cases of human rights

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defenders Arash Sadeghi and Narges Mohammadi, and dual nationals Ahmadreza
Djalali, Kamran Ghaderi, and Nazanin Zaghari-Radcliffe. The UN experts also
cited unsafe and unsanitary detention conditions, including overcrowding,
contaminated food and water, rodent and insect infestations, unhygienic facilities,
and inadequate temperature controls.

Medical services for female prisoners were reported as grossly inadequate.

The human rights community and international media reported on frequent water
shortages, insufficient food, intolerable heat, unsanitary living spaces, poor
ventilation, infestations with cockroaches and mice, chronic overcrowding, and
prisoners being forced to sleep on the floor with little bedding in prisons
throughout the country. Prisoner hunger strikes occurred frequently.

In August, CHRI reported 200 inmates at Gharchak Prison for Women wrote an
open letter to the State Prisons Organization chief Heshmatollah Hayatolgheyb,
complaining of overcrowding, unsafe drinking water and food, unsanitary living
conditions, and denial of medical treatment at the prison.

There was no indication that authorities investigated the December 2018 death of
political prisoner Vahid Sayyadi-Nasiri, who had been on hunger strike since
October 2018 to protest conditions at Langroud Prison in Qom.

According to Amnesty International, at least 10 Gonabadi Sufi dervish women
were unjustly detained in Shahr-e Rey Prison on national security-related charges
since February 2018. The women were routinely denied urgently needed medical
care and kept in unsanitary, inhuman conditions. CHRI and the UN special
rapporteur (UNSR) on the situation of human rights in the Islamic Republic of
Iran, Javaid Rehman, reported that one of the detained women, Elham Ahmadi,
who is serving a two-year sentence, was reportedly sentenced to a further 148
lashes in January for speaking out about the denial of medical treatment. In April a
prisoner allegedly beat another of the detained women, Sima Entesari, after prison
authorities reportedly promised the attacker a case review if she carried out the
attack. The two detained women were reportedly placed in the same ward as
prisoners convinced of drug-related charges, theft, and social crimes in
contravention of the prison’s rules and regulations.

Authorities occasionally held pretrial detainees with convicted prisoners.
According to a June report from IranWire, there was a noticeable increase over the
past two years of the practice of holding political prisoners in wards with allegedly

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violent and dangerous criminals, with the goal of “breaking” the political
prisoners’ wills. Also, according to HRANA, juvenile detainees were held with
adult prisoners in some prisons, including Saghez Central Prison in Kurdistan
Province. Male juvenile detainees were held in separate rehabilitation centers in
most urban areas, but female juvenile detainees and male juvenile detainees in
rural areas were held alongside adults in detention facilities, according to NGO
reports. Authorities held women separately from men.

In 2017 Mohammad Javad Fathi, a member of parliament’s judicial committee,
was quoted in the media saying that 2,300 children lived in prisons with their
incarcerated mothers. Fathi urged the Prisons Organization to provide transparent
statistics on the number of imprisoned mothers. IranWire reported multiple
prisons across the country held older children who lived with their incarcerated
mothers without access to medical care or educational and recreational facilities.

There were numerous reports of prisoner suicides throughout the year in response
to prison conditions or mistreatment. In October the local newspaper Qanun
reported that a clergyman committed suicide in Evin Prison due to unspecified
“hardships” faced by prisoners.

Administration: According to reports from human rights NGOs, prison authorities
regularly denied prisoners access to visitors, telephone, and other correspondence
privileges. Prisoners practicing a religion other than Shia Islam reported
experiencing discrimination.

According to an October 24 report from CHRI, Evin Prison Director Gholamreza
Ziaei appeared to target prisoners of conscience for denial of communication with
family.

Authorities did not initiate credible investigations into allegations of inhuman
conditions or suspicious deaths in custody. There was no further investigation into
the February 2018 death of Iranian-Canadian Kavous Seyed-Emami, an
environmentalist, at Evin Prison. Authorities labeled the death a suicide, but there
was no independent investigation to verify the cause of death. A lawyer
representing the family told CHRI in April 2018 that a preliminary state medical
examiner’s report “showed evidence of an injection on his skin” as well as “bruises
on different parts of the body.” Authorities placed a travel ban on Seyed-Emami’s
wife, Maryam Mombeini.



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Prisoners were able to submit complaints to judicial authorities but often faced
censorship or retribution in the form of slander, beatings, torture, and denial of
medication or furlough requests. Families of executed prisoners did not always
receive notification of their scheduled executions, or if they did, it was often on
very short notice. Authorities frequently denied families the ability to perform
funeral rites or an impartial autopsy.

Independent Monitoring: The government did not permit independent monitoring
of prison conditions. Prisoners and their families often wrote letters to authorities
and, in some cases, to UN bodies to highlight and protest their treatment.

For more information on treatment of political prisoners, see section 1.e., Political
Prisoners and Detainees.

d. Arbitrary Arrest or Detention

Although the constitution prohibits arbitrary arrest and detention, the practices
occurred frequently during the year. President Rouhani’s 2016 Citizen’s Rights
Charter enumerates various freedoms, including “security of their person,
property, dignity, employment, legal and judicial process, social security, and the
like.” The government did not implement these provisions. Detainees may appeal
their sentences in court but are not entitled to compensation for detention.

Arrest Procedures and Treatment of Detainees

The constitution and law require a warrant or subpoena for an arrest and state that
arrested persons should be informed of the charges against them within 24 hours.
Authorities, however, held some detainees, at times incommunicado, for prolonged
periods without charge or trial and frequently denied them contact with family or
timely access to legal representation.

The law obligates the government to provide indigent defendants with attorneys for
certain types of crimes. The courts set prohibitively high bail, even for lesser
crimes, and in many cases, courts did not set bail. Authorities often compelled
detainees and their families to submit property deeds to post bail, effectively
silencing them due to fear of losing their families’ property.

The government continued to use house arrest without due process to restrict
movement and communication. At year’s end former presidential candidates
Mehdi Karroubi and Mir Hossein Mousavi, as well as Mousavi’s wife Zahra

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Rahnavard, remained under house arrest imposed in 2011 without formal charges.
Security forces continued to restrict their access to visitors and information.
Concerns persisted over Karroubi’s deteriorating health, reportedly exacerbated by
his treatment by authorities.

Arbitrary Arrest: Authorities commonly used arbitrary arrests to impede alleged
antiregime activities. Plainclothes officers arrived unannounced at homes or
offices; arrested persons; conducted raids; and confiscated private documents,
passports, computers, electronic media, and other personal items without warrants
or assurances of due process.

Individuals often remained in detention facilities for long periods without charges
or trials, and authorities sometimes prevented them from informing others of their
whereabouts for several days. Authorities often denied detainees’ access to legal
counsel during this period.

International media and human rights organizations documented an increase in
detentions of dual nationals--individuals who are citizens of both Iran and another
country--for arbitrary and prolonged detention on politically motivated charges.

A July, 7 UNSR report estimated there were at least 30 cases of dual and foreign
nationals who authorities had arrested arbitrarily and subjected to mistreatment,
denial of appropriate medical treatment, or both. Several detainees were American
citizens, including Xiyue Wang, arbitrarily arrested in 2016 and released
December 7 after more than three years in prison. A doctoral student at Princeton
University, Wang had been conducting research for his dissertation on the history
of the Qajar dynasty. In 2017 a revolutionary court sentenced him to 10 years in
prison on charges of “cooperating with an enemy state.” Revolutionary court
judge Abolqasem Salavati presided over the case. In August 2018 the UN
Working Group on Arbitrary Detention stated Wang’s detention was arbitrary and
“motivated by the fact that he is a United States citizen.”

Additional cases of arbitrarily detained dual and foreign nationals continued. In
January an appeals court ruled against Siamak Namazi, who challenged a 10-year
prison sentence for “espionage” following a lower court trial with numerous
procedural irregularities, according to international media and NGO reports.
Authorities initially detained Namazi in 2015, and he remained in prison at year’s
end.



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The UNSR concluded the government subjected dual and foreign nationals to
“sham trials which have failed to meet basic fair trial standards and convicted them
of offenses on the basis of fabricated evidence or, in some cases, no evidence at all,
and has attempted to use them as diplomatic leverage.” Dual nationals, like other
citizens, faced a variety of due process violations, including lack of prompt access
to a lawyer of their choosing and brief trials during which they were not allowed to
defend themselves.

According to Human Rights Watch (HRW), since January 2018, the IRGC’s
intelligence organization arbitrarily arrested at least 50 environmental activists.
These included the January-February 2018 arrests of a group affiliated with the
Persian Wildlife Heritage Foundation, which had been tracking the critically
endangered Asiatic cheetah. The conservationists had reportedly set up camera
traps to assist with tracking the animals. The IRGC claimed the detainees were
gathering intelligence on missile sites. In October prosecutors dropped the charge
of “corruption on Earth,” which carries the death penalty, against four of the
conservationists. On November 20, the Tehran Revolutionary Court sentenced six
of them--Houman Jokar, Sepideh Kashani, Niloufar Bayani, Amirhossein
Khaleghi, Taher Ghadirian, and Morad Tahbaz--to between six and 10 years in
prison on charges of collaborating with an “enemy state”; two other defendants,
Sam Rajabi and Abdolreza Kouhpayeh, were awaiting sentencing as of December
10. According to HRW, the judge handed down the sentences in secret, without
the presence of defense lawyers, and ignored the defendants’ claims of abuse in
detention.

Pretrial Detention: Pretrial detention was often arbitrarily lengthy, particularly in
cases involving alleged violations of “national security” law. Authorities
sometimes held persons incommunicado for lengthy periods before permitting
them to contact family members. Instances of unjust and arbitrary pretrial
detention were commonplace and well documented throughout the year involving
numerous prisoners of conscience. According to HRW, a judge may prolong
detention at his discretion, and pretrial detentions often lasted for months. Often
authorities held pretrial detainees in custody with the general prison population.

e. Denial of Fair Public Trial

The constitution provides that the judiciary be “an independent power” that is “free
from every kind of unhealthy relation and connection.” The court system was
subjected to political influence, and judges were appointed “in accordance with
religious criteria.”

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The supreme leader appoints the head of the judiciary. The head of the judiciary,
members of the Supreme Court, and the prosecutor general were clerics.
International observers continued to criticize the lack of independence of the
country’s judicial system and judges and maintained that trials disregarded
international standards of fairness.

Trial Procedures

According to the constitution and law, a defendant has the right to a fair trial, to be
presumed innocent until convicted, to have access to a lawyer of his or her choice,
and to appeal convictions in most cases that involve major penalties. These rights
were not upheld.

Panels of judges adjudicate trials in civil and criminal courts. Human rights
activists reported trials in which authorities appeared to have determined the
verdicts in advance, and defendants did not have the opportunity to confront their
accusers or meet with lawyers. For journalists and defendants charged with crimes
against national security, the law restricts the choice of attorneys to a government-
approved list.

When postrevolutionary statutes do not address a situation, the government advised
judges to give precedence to their knowledge and interpretation of sharia (Islamic
law). Under this method judges may find a person guilty based on their own
“divine knowledge.”

The constitution does not provide for the establishment or the mandate of the
revolutionary courts. The courts were created pursuant to the former supreme
leader Ayatollah Khomeini’s edict immediately following the 1979 revolution,
with a sharia judge appointed as the head of the courts. They were intended as a
temporary emergency measure to try high-level officials of the deposed monarchy
and purge threats to the regime. The courts, however, became institutionalized and
continue to operate in parallel to the criminal justice system. Human rights groups
and international observers often identified the revolutionary courts, which are
generally responsible for hearing the cases of political prisoners, as routinely
employing grossly unfair trials without due process, handing down predetermined
verdicts, and rubberstamping executions for political purposes. These unfair
practices reportedly occur during all stages of criminal proceedings in
revolutionary courts, including the initial prosecution and pretrial investigation,
first instance trial, and review by higher courts.

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The IRGC and Intelligence Ministry reportedly determine many aspects of
revolutionary court cases. Most of the important political cases are referred to a
small number of branches of the revolutionary courts, whose judges often have
negligent legal training and are not independent.

During the year human rights groups and international media noted the absence of
procedural safeguards in criminal trials, and courts admitted as evidence
confessions made under duress or torture. UNSR Javaid Rehman expressed
concerns about allegations of confessions extracted by torture and a lack of due
process or a fair trial. According to Iran Human Rights, on August 4, authorities at
Dezful Prison executed two Arab men after a court found them guilty of “waging
war against God;” Amnesty International reported the men were tortured to gain
confessions.

The Special Clerical Court is headed by a Shia Islamic legal scholar, overseen by
the supreme leader, and charged with investigating alleged offenses committed by
clerics and issuing rulings based on an independent interpretation of Islamic legal
sources. As with the revolutionary courts, the constitution does not provide for the
Special Clerical Court, which operates outside the judiciary’s purview. Clerical
courts were used to prosecute Shia clerics who expressed controversial ideas and
participated in activities outside the sphere of religion, such as journalism or
reformist political activities.

In January cleric Seyed Hasan Aghamiri posted on Instagram that the Special
Clerical Court had sentenced him to two years in prison and permanent defrocking
for social media posts critical of the clerical establishment. He said authorities
subsequently reduced the sentence to a suspended five-year sentence.

Political Prisoners and Detainees

Official statistics regarding the number of citizens imprisoned for their political
beliefs were not available. According to United for Iran, as of December 12, there
were an estimated 610 prisoners of conscience held in the country, including those
jailed for their religious beliefs.

The government often charged political dissidents with vague crimes, such as
“antirevolutionary behavior,” “corruption on earth,” “siding with global
arrogance,” “waging war against God,” and “crimes against Islam.” Prosecutors
imposed strict penalties on government critics for minor violations.

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The political crimes law defines a political crime as an insult against the
government, as well as “the publication of lies.” Political crimes are those acts
“committed with the intent of reforming the domestic or foreign policies of Iran,”
while those with the intent to damage “the foundations of the regime” are
considered national security crimes. The court and the Public Prosecutor’s Office
retain responsibility for determining the nature of the crime.

The political crimes law grants the accused certain rights during arrest and
imprisonment. Political criminals should be held in detention facilities separate
from ordinary criminals. Political criminals should also be exempt from wearing
prison uniforms, not subject to rules governing repeat offenses, not subject to
extradition, and exempt from solitary confinement unless judicial officials deem it
necessary. Political criminals also have the right to see and correspond with
immediate family regularly and to access books, newspapers, radio, and television.

Many of the law’s provisions have not been implemented, and the government
continued to arrest and charge students, journalists, lawyers, political activists,
women’s activists, artists, and members of religious minorities with “national
security” crimes that do not fall under the political crimes law. Political prisoners
were also at greater risk of torture and abuse in detention. They were often mixed
with the general prison population, and former prisoners reported that authorities
often threatened political prisoners with transfer to criminal wards, where attacks
were more likely. Human rights activists and international media reported cases of
political prisoners confined with accused and convicted violent criminals, and with
criminals carrying contagious diseases such as HIV or hepatitis (see section 1.c.,
Physical Conditions). The government often placed political prisoners in prisons
far from their families, denied them correspondence rights, and held them in
solitary confinement for long periods.

The government reportedly held some detainees in prison for years on unfounded
charges of sympathizing with real or alleged terrorist groups.

The government issued travel bans on some former political prisoners, barred them
from working in their occupations for years after incarceration, and imposed
internal exile on some. During the year authorities occasionally gave political
prisoners suspended sentences and released them on bail with the understanding
that renewed political activity would result in their return to prison. The
government did not permit international humanitarian organizations or UN
representatives access to political prisoners.

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Prison authorities reportedly denied human rights defender and journalist Narges
Mohammadi phone contact with her family, as well as appropriate medical
treatment related to a major operation she underwent in May. Security forces
arrested Mohammadi in 2016, and a revolutionary court sentenced her to 16 years
in prison for “propaganda against the state,” “assembly and collusion against
national security,” and establishing the illegal Step by Step to Stop the Death
Penalty organization, allegedly harming national security.

Lawyers who defended political prisoners were often arrested, detained, and
subjected to excessive sentences and punishments for engaging in regular
professional activities. The government continued to imprison lawyers and others
affiliated with the Defenders of Human Rights Center advocacy group. In 2018
the government arrested at least eight human rights attorneys in what the United
Nations characterized as “increasing levels of intimidation, arrest and detention for
providing legal counsel to dissenting voices.”

In January imprisoned human rights attorney Mohammad Najafi was sentenced to
an additional two years in prison, bringing his total sentence to 19 years for
“national security-related” charges.

On March 11, a revolutionary court sentenced human rights attorney Nasrin
Sotoudeh to a cumulative 38 years in prison and 148 lashes for providing legal
defense services to women charged with crimes for not wearing hijab. Sotoudeh
was previously arrested in 2010 and pardoned in 2013.

On July 30, a revolutionary court upheld a 30-year prison sentence--plus 111
lashes--against Amir Salar Davoudi, a lawyer and civil rights activist.

International human rights organizations reported the arrest of several other human
rights lawyers during the year because of their work. In January security agents
arrested Farhad Mohammadi, a Kurdish human rights lawyer, and Masoud
Shamsnejad, a lawyer and professor.

Politically Motivated Reprisal Against Individuals Located Outside the
Country

There were credible reports that the government attempted to misuse international
law enforcement tools for politically motivated purposes as reprisals against
specific individuals located outside the country.

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In March the government filed an INTERPOL Red Notice on Bahareh Zare Bahari,
an Iranian national who had resided for several years in the Philippines, claiming
she faced charges of “assault and battery” in Iran for alleged threats she made
against other Iranian nationals in the Philippines. Media and NGOs noted that
Bahari had publicly expressed opposition to the Iranian government, and displayed
a poster of a government opponent during an international beauty pageant in which
she participated. Authorities detained Bahari at the airport in Manila in October
when she returned to the country after an international trip. On November 8,
Philippine authorities granted Bahari refugee status in the country.

Civil Judicial Procedures and Remedies

Citizens had limited ability to sue the government and were not able to bring
lawsuits through the courts against the government for civil or human rights
violations.

Property Restitution

The constitution allows the government to confiscate property acquired illicitly or
in a manner not in conformity with Islamic law. The government appeared to
target ethnic and religious minorities in invoking this provision.

f. Arbitrary or Unlawful Interference with Privacy, Family, Home, or
Correspondence

The constitution states that “reputation, life, property, [and] dwelling[s]” are
protected from trespass, except as “provided by law.” The government routinely
infringed on this right. Security forces monitored the social activities of citizens,
entered homes, offices, and places of worship, monitored telephone conversations
and internet communications, and opened mail without court authorization. The
government also repeatedly detained the family members of activists as a form of
intimidation and reprisal.

A semiofficial news agency in Iran reported December 24 that authorities arrested
approximately 10 family members of Pouya Bakhtiari, a protester reportedly killed
by security forces in the city of Karaj during the November fuel price-hike
demonstrations. The detained persons reportedly included Bakhtiari’s 11-year-old
nephew and two of his elderly grandparents. According to other family members,


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security forces detained these individuals to prevent them from holding a
traditional memorial service for Bakhtiari 40 days after his death.

According to international human rights organizations, the Ministry of Intelligence
arrested and intimidated BBC employees’ family members, including elderly
family members, based in Iran. The government also froze and seized assets of
family members, demoted relatives employed by state-affiliated organizations, and
confiscated passports. The government also compelled family members of
journalists from other media outlets abroad to defame their relatives on state
television.

In January a revolutionary court sentenced Nasrin Sotoudeh’s husband, Reza
Khandan, to six years in prison for “conspiring against national security” and
“propaganda against the system” related to publicly expressing his support for his
detained wife, according to his lawyer. Khandan filed an appeal, and as of
November, authorities had not detained him to serve the sentence. In September,
Amnesty International reported that authorities arrested three family members of
women’s rights activist and founder of anticompulsory hijab movement Masih
Alinejad--her brother, Alireza Alinejad, and siblings of her former husband, Hadi
and Leila Lotfi. NGOs expressed concern they were potentially being held in
solitary confinement. Authorities reportedly released Hadi Lotfi after
interrogation.

g. Abuses in Internal Conflicts

Syria: The government directly supported the Assad regime in Syria, primarily
through the IRGC, and recruited Iraqi, Afghan, and Pakistani Shia fighters, which
contributed to prolonging the civil war and the deaths of thousands of Syrian
civilians during the year. According to HRW, the IRGC since 2013 allegedly
recruited thousands of undocumented Afghans living in Iran to fight in Syria,
threatening forced deportation in some cases. The Syrian Network for Human
Rights attributed 89 percent of civilian deaths in Syria since the beginning of the
conflict to government forces and Iranian-sponsored militias. Hackers linked to
Iran continued cyberattacks against Syrian opposition groups in an effort to disrupt
reporting on human rights violations.

Child Soldiers: In a 2017 report, HRW asserted that the IRGC had recruited
Afghan children as young as age 14 to serve in the Fatemiyoun Brigade, reportedly
an Iranian-supported Afghan group fighting alongside government forces in Syria,
and noted that at least 14 Afghan children had been killed fighting in the Syrian

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conflict. In an August 2018 interview by IranWire, a Fatemiyoun Brigade
commander confirmed Afghan minors as young as 15 served in his unit.

Iraq: The Iranian government directly supported certain pro-Iran militias,
including terrorist organization Kata’ib Hizballah, which reportedly was complicit
in summary executions and other human rights abuses of civilians in Iraq.

In October and November, there were reports that Iran-backed militia groups
operating in Iraq shot and killed protesters and engaged in abductions and targeted
killings of civil society activists, journalists, and human rights defenders. On
October 17, Reuters reported that Kata’ib Hizballah member Abu Zainab al-Lami
directed sniper shootings of peaceful Iraqi demonstrators.

Yemen: Since 2015 the Iranian government has provided hundreds of millions of
dollars in support to the Houthi rebels in Yemen and proliferated weapons that
exacerbated and prolonged the conflict. On November 25, a vessel off the coast of
Yemen was interdicted carrying a significant cache of sophisticated weapons and
missile parts apparently of Iranian origin. Houthi rebels used Iranian funding and
weapons to launch attacks against civilians and civilian infrastructure both within
Yemen and in Saudi Arabia.

According to a Bahai International Community report in April 2018, Iranian
authorities directed authorities in Houthi-controlled areas of Yemen to harass and
detain Bahais because of their religious affiliation. On October 10, a judge in
Yemen reportedly urged authorities to deport Bahais, ban their entry to the
country, and seize the assets of the Bahai National Assembly.

Section 2. Respect for Civil Liberties, Including:

a. Freedom of Expression, Including for the Press

The constitution provides for freedom of expression, including for the press, except
when words are deemed “detrimental to the fundamental principles of Islam or the
rights of the public.” According to the law, “anyone who engages in any type of
propaganda against the Islamic Republic of Iran or in support of opposition groups
and associations shall be sentenced to three months to one year of imprisonment.”

The Charter on Citizens’ Rights acknowledges the right of every citizen to freedom
of speech and expression. The charter grants citizens the right to seek, receive,


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publish, and communicate views and information, using any means of
communication; however, it has not been implemented.

The law provides for prosecution of persons accused of instigating crimes against
the state or national security or “insulting” Islam. The government severely
restricted freedom of speech and of the press and used the law to intimidate or
prosecute persons who directly criticized the government or raised human rights
problems, as well as to bring ordinary citizens into compliance with the
government’s moral code.

Freedom of Expression: Authorities did not permit individuals to criticize publicly
the country’s system of government, supreme leader, or official religion. Security
forces and the judiciary punished those who violated these restrictions, as well as
those who publicly criticized the president, cabinet, and parliament. A July UN
report noted “increasing restrictions” on freedom of expression.

The government monitored meetings, movements, and communications of its
citizens and often charged persons with crimes against national security and for
insulting the regime, citing as evidence letters, emails, and other public and private
communications. Authorities threatened arrest or punishment for the expression of
ideas or images they viewed as violations of the legal moral code.

In June and August, two dozen civil society activists circulated two separate letters
calling on the supreme leader to step down and begin a process to develop a new
constitution. Authorities arrested nearly all of the signatories to these letters and
charged them with “propaganda against the state” and “collusion against national
security.” Their trials continued before a revolutionary court.

Press and Media, Including Online Media: The government’s Press Supervisory
Board issues press licenses, which it sometimes revoked in response to articles
critical of the government or the regime, or it did not renew them for individuals
facing criminal charges or incarcerated for political reasons. During the year the
government banned, blocked, closed, or censored publications deemed critical of
officials.

The Ministry of Culture and Islamic Guidance (Ershad) severely limited and
controlled foreign media organizations’ ability to work in the country. The
ministry required foreign correspondents to provide detailed travel plans and topics
of proposed stories before granting visas, limiting their ability to travel within the
country, and forced them to work with a local “minder.” According to the

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Washington Post, the ministry temporarily stopped issuing permits to any foreign
correspondents during the summer.

Under the constitution private broadcasting is illegal. The government maintained
a monopoly over all television and radio broadcasting facilities through IRIB, a
government agency. Radio and television programming, the principal source of
news for many citizens, particularly in rural areas with limited internet access,
reflected the government’s political and socioreligious ideology. The government
jammed satellite broadcasts as signals entered the country, a continuous practice
since at least 2003. Satellite dishes remained illegal but ubiquitous. Those who
distributed, used, or repaired satellite dishes faced fines up to 90 million rials
(approximately $2,100). Police, using warrants provided by the judiciary,
conducted periodic campaigns to confiscate privately owned satellite dishes
throughout the country.

Under the constitution the supreme leader appoints the head of the Audiovisual
Policy Agency, a council composed of representatives of the president, judiciary,
and parliament. The Ministry of Culture reviews all potential publications,
including foreign printed materials, prior to their domestic release and may deem
books unpublishable, remove text, or require word substitutions for terms deemed
inappropriate.

Independent print media companies existed, but the government severely limited
their operations.

In June, Judge Mohammad Moghiseh, presiding over Tehran’s Revolutionary
Court Branch 28, sentenced Masoud Kazemi, editor in chief of the monthly
political magazine Sedaye Parsi, to four and one-half years in prison followed by a
two-year ban from working as a journalist for national security charges of
spreading misinformation and insulting the supreme leader. In November 2018
authorities arrested Kazemi for reporting on corruption in the Ministry of Industry.

Violence and Harassment: The government and its agents harassed, detained,
abused, and prosecuted publishers, editors, and journalists, including those
involved in internet-based media, for their reporting. The government also
harassed many journalists’ families.

According to information provided by Journalism is not a Crime, an organization
devoted to documenting freedom of the press in the country, at least 38 journalists
or citizen-journalists were imprisoned as of December.

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Authorities banned national and international media outlets from covering
demonstrations throughout the year in an attempt to censor coverage of the protests
and to intimidate citizens from disseminating information about them. On May 4,
authorities arrested Marzieh Amiri, a journalist for Shargh, a leading reformist
newspaper, at a protest outside the parliament building in Tehran. In reaction to
Amiri’s arrest, member of parliament Mohammad-Ali Pourmokhtar reportedly said
to state media, “[J]ournalists don’t have the right to report on anything they want.
They are the problem.” Pourmokhtar noted there was nothing wrong with Amiri’s
arrest since she had been exposing important information to enemy states. Amiri
posted bail of one billion rials ($23,000) and was released from Evin Prison in late
October.

In July, Amnesty International called for the release of three reporters for Gam
(Step), a Telegram app news channel covering labor issues. According to Amnesty
International’s report and other reporting from human rights organizations,
authorities arrested Amirhossein Mohammadifard, Gam’s editor in chief; his wife
Sanaz Allahyari, a reporter; and Amir Amirgholi, a Gam staff reporter, in January.
The journalists reportedly faced national security charges connected to their
reporting on workers’ rights protests in Khuzestan Province. Authorities released
the journalists on bail in late October.

Censorship or Content Restrictions: The law forbids government censorship but
also prohibits dissemination of information the government considers “damaging.”
During the year the government censored publications that criticized official
actions or contradicted official views or versions of events. “Damaging”
information included discussions of women’s rights, the situation of minorities,
criticism of government corruption, and references to mistreatment of detainees.

In July the Huffington Post reported that the government had set conditions for the
BBC not to share reporting materials it gathered inside the country with BBC
Persian, its Persian language channel. According to the report, the agreement was
made in exchange for the government to allow a BBC correspondent into the
country.

Officials routinely intimidated journalists into practicing self-censorship. Public
officials often filed criminal complaints against newspapers, and the Press
Supervisory Board, which regulates media content and publication, referred such
complaints to the Press Court for further action, including possible closure,
suspension, and fines. The Islamic Republic News Agency determined the main

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topics and types of news to be covered and distributed topics required for reporting
directly to various media outlets, according to the IHRDC.

Libel/Slander Laws: The government commonly used libel laws or cited national
security to suppress criticism. According to the law, if any publication contains
personal insults, libel, false statements, or criticism, the insulted individual has the
right to respond in the publication within one month. By law “insult” or “libel”
against the government, government representatives, or foreign officials while they
are in the country, as well as “the publication of lies” with the intent to alter, but
not overthrow, the government are considered political crimes and subject to
certain trial and detention procedures (see section 1.e.). The government applied
the law throughout the year, often citing statements made in various media outlets
or on internet platforms that criticized the government, in the arrest, prosecution,
and sentencing of individuals for crimes against national security.

National Security: Authorities routinely cited laws on protecting national security
to arrest or punish critics of the government or to deter criticism of government
policies or officials. In January authorities charged three members of the Iran
Writer’s Association with national-security-related crimes, reportedly for
publishing information opposing censorship of art and literature, according to
CHRI.

Internet Freedom

The government restricted and disrupted access to the internet, including fully
blocking access for almost one week during nationwide protests in November.
There were reports the government again slowed internet access on December 25,
which media and NGO reports noted would correspond to approximately 40 days
after the protests began, when the government may be concerned that families of
those killed would organize new protests surrounding memorial ceremonies for the
victims. Authorities also monitored private online communications and censored
online content. Individuals and groups practiced self-censorship online.

The Ministries of Culture and of Information and Communications Technology are
the main regulatory bodies for content and internet systems. The Supreme
Leader’s Office also includes the Supreme Council of Cyberspace, charged with
regulating content and systems. The government collected personally identifiable
information in connection with citizens’ peaceful expression of political, religious,
or ideological opinion or beliefs.


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The government continued to implement the National Information Network (NIN,
also known as SHOMA). As described by Freedom House, SHOMA enabled the
government to reduce foreign internet connection speeds during politically
sensitive periods, disconnect the network from global internet content, and disrupt
circumvention tools. According to widespread media and NGO reports, the
government shut down nearly all internet access in the country for five days
following the outbreak of protests over fuel price increases on November 15. The
BBC noted that authorities controlled the country’s two internet connections to the
outside world, the state telecommunications firm and the Institute for Physics and
Mathematics. Oracle’s internet-monitoring service called it “the largest internet
shutdown ever observed in Iran.” Access to mobile networks in parts of the
country remained heavily restricted for several weeks after the demonstrations
began to diminish.

NGOs reported the government filtered content on the internet throughout the year
to ban access to particular sites and to filter traffic based on its content. The law
makes it illegal to distribute circumvention tools and virtual private networks, and
Minister of Information and Communications Technology Jahromi was quoted in
the press stating that using circumvention tools is illegal.

The Ministry of Culture and Islamic Guidance must approve all internet service
providers. The government also requires all owners of websites and blogs in the
country to register with the agencies that compose the Commission to Determine
the Instances of Criminal Content (also referred to as the Committee in Charge of
Determining Unauthorized Websites or Committee in Charge of Determining
Offensive Content), the governmental organization that determines censoring
criteria. These agencies include the Ministry of Culture and Islamic Guidance,
Ministry of Information and Communications Technology, the Intelligence
Ministry, and the Tehran Public Prosecutor’s Office.

Ministry of Information and Communications Technology regulations prohibit
households and cybercafes from having high-speed internet access.

Authorities continued to block online messaging tools, such as Facebook,
YouTube, and Twitter, although the government operated Twitter accounts under
the names of Supreme Leader Khamenei, President Rouhani, Foreign Minister
Zarif, and other government-associated officials and entities, including after
shutting down most of the country’s internet access during the November
demonstrations.


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Government organizations, including the Basij Cyber Council, the Cyber Police,
and the Cyber Army, which observers presumed to be controlled by the IRGC,
monitored, identified, and countered alleged cyberthreats to national security.
These organizations especially targeted citizens’ activities on officially banned
social networking websites such as Telegram, Facebook, Twitter, YouTube, and
Flickr, and they reportedly harassed persons who criticized the government or
raised sensitive social problems.

The popular messaging app Telegram remained blocked during the year, although
it continued to be accessed using circumvention tools.

Bloggers, social media users, and online journalists continued to be arrested. In
April authorities warned citizens they could be prosecuted for posting pictures of
major flooding in the country’s southwest under the charge of “disturbing public
opinion.” On October 5, authorities reportedly arrested Instagram user Sahar
Tabar for “blasphemy” and “encouraging youths to corruption” for posts on her
account depicting results of her numerous plastic surgeries. Several weeks later,
she appeared to express regret for her actions in a state television broadcast that
observers described as a “forced confession.” CHRI reported in August that
authorities detained at least 14 Instagram “celebrities” in the previous three months
and ordered them to stop their online activities.

Academic Freedom and Cultural Events

The government significantly restricted academic freedom and the independence of
higher education institutions. Authorities systematically targeted university
campuses to suppress social and political activism by banning independent student
organizations, imprisoning student activists, removing faculty, preventing students
from enrolling or continuing their education because of their political or religious
affiliation or activism, and restricting social sciences and humanities curricula.

In April, according to a CHRI report, the Supreme Cultural Revolution Council’s
Committee for the Islamization of Universities passed an amendment to the
country’s academic disciplinary regulations, according to which university students
could be punished for engaging in online activities deemed as “unethical.” Jamasb
Nozari, director of the state-run Academic Affairs Organization, stated in an
interview with Iranian Students News Agency (ISNA), “Publishing unethical
photos or committing immoral acts in cyberspace and on information-sharing
networks will result in disciplinary action against students.”


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Authorities barred Bahai students from higher education and harassed those who
studied through the unrecognized online university of the Bahai Institute for
Higher Education. According to a HRANA report in September, authorities denied
university admission to at least 22 Bahai students solely based on their religious
affiliation despite they passed the national admissions test (see the Department of
State’s International Religious Freedom Report at
https://www.state.gov/religiousfreedomreport/).

The government maintained control over cinema, music, theater, and art exhibits
and censored those productions deemed to transgress Islamic values. The
government censored or banned films deemed to promote secularism, non-Islamic
ideas about women’s rights, unethical behavior, drug abuse, violence, or
alcoholism.

According to the IHRDC, the nine-member film review council of the Ministry of
Culture and Islamic Guidance, consisting of clerics, former directors, former
parliamentarians, and academics, must approve the content of every film before
production and again before screening. Films may be barred arbitrarily from
screening even if all the appropriate permits were received in advance.

In July, CHRI reported that a court sentenced filmmaker Mohammad Rasoulof to
one year in prison for the content of his films. According to Rasoulof, the
accusations made against him in court focused on films he made examining the
government’s persecution of members of the Bahai faith. Since 2017 authorities
have banned Rasoulof from leaving the country and making films. Similarly, film
director Jafar Panahi has been barred from traveling since 2010, when he was
charged with generating “propaganda against the Islamic Republic.”

Officials continued to discourage teaching music in schools. Authorities
considered heavy metal and foreign music religiously offensive, and police
continued to repress underground concerts and arrest musicians and music
distributors. The Ministry of Culture must officially approve song lyrics, music,
and album covers as complying with the country’s moral values, although many
underground musicians released albums without seeking such permission.

In July a revolutionary court sentenced in absentia Nikan Khosravi and Arash
Ilkhani of the metal band Confess to more than 14 years in prison and 74 lashes for
“insulting the sanctity of Islam,” among other charges.

b. Freedoms of Peaceful Assembly and Association

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The government severely restricted freedoms of peaceful assembly and
association.

Freedom of Peaceful Assembly

The constitution permits assemblies and marches of unarmed persons, “provided
they do not violate the principles of Islam.” To prevent activities it considered
antiregime, the government restricted this right and closely monitored gatherings
such as public entertainment and lectures, student and women’s meetings and
protests, meetings and worship services of minority religious groups, labor
protests, online gatherings and networking, funeral processions, and Friday prayer
gatherings.

According to activists, the government arbitrarily applied rules governing permits
to assemble, as proregime groups rarely experienced difficulty, while groups
viewed as critical of the regime experienced harassment regardless of whether
authorities issued a permit.

Protests against government corruption and economic mismanagement continued
throughout the year, as did labor-sector protests. Protests against the country’s
compulsory hijab laws also increased.

On May 13, Basij militia and progovernment plainclothes vigilante groups forcibly
dispersed a student demonstration at the University of Tehran, in which hundreds
of students peacefully protested the country’s mandatory hijab laws. Videos
showed clerics, vigilante groups, and Basij members chanting Islamic slogans,
calling for the students to respect the law or leave the university. The vigilante
groups later reportedly physically attacked the students after they had retreated to
the university auditorium.

On November 14, the government announced a fuel subsidy cut that substantially
increased the cost of gasoline. The cut sparked days of protests in nearly three-
quarters of the country’s provinces and increasingly included broader expressions
of frustration regarding the country’s leadership, according to media and NGO
reports. Security forces responded with lethal force, killing approximately 1,500
protesters, according to international media reports (see section 1.a.). Authorities
also arrested 8,600 demonstrators. Government officials described the protesters
as “rioters” and did not indicate any intent to investigate protester deaths, calling
the casualty figures “disinformation.”

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There were no government investigations into the killings of at least 20
demonstrators during protests in 2017-18, nor were there any government
investigations into the forcible dispersal of February 2018 protests by the Gonabadi
Sufi dervish community, during which security forces killed numerous dervishes.
Between March 9 and 12, an appeals court upheld convictions of 23 dervishes
arrested at the 2018 demonstrations and confirmed sentences ranging from six to
26 years in prison, lashings, social media bans, and travel bans. Dozens of
members of the Gonabadi Sufi community remained imprisoned at year’s end.

Freedom of Association

The constitution provides for the establishment of political parties, professional
and political associations, and Islamic and recognized religious minority
organizations, as long as such groups do not violate the principles of freedom,
sovereignty, national unity, or Islamic criteria, or question Islam as the basis of the
country’s system of government. The government limited the freedom of
association through threats, intimidation, the imposition of arbitrary requirements
on organizations, and the arrests of group leaders and members (see section 7).
The government continued to broaden arbitrarily the areas of civil society work it
deemed unacceptable, to include conservation and environmental efforts (see
section 1.d.).

c. Freedom of Religion

See the Department of State’s International Religious Freedom Report at
https://www.state.gov/religiousfreedomreport/.

d. Freedom of Movement

The law provides for freedom of internal movement, foreign travel, emigration,
and repatriation, and the government generally respected these rights, with some
exceptions, particularly concerning migrants and women. The government
cooperated with the Office of the UN High Commissioner for Refugees (UNHCR)
with regard to refugees from Afghanistan and Iraq.

In-country Movement: Judicial sentences sometimes included internal exile after
release from prison, which prevented individuals from traveling to certain
provinces. Women often required the supervision of a male guardian or chaperone
to travel and faced official and societal harassment for traveling alone.

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Foreign Travel: The government required exit permits for foreign travel for all
citizens. Citizens who were educated at government expense or received
scholarships had either to repay the scholarship or receive a temporary permit to
exit the country. The government restricted the foreign travel of some religious
leaders, members of religious minorities, and scientists in sensitive fields.

Numerous journalists, academics, opposition politicians, human and women’s
rights activists, and artists remained subject to foreign travel bans and had their
passports confiscated during the year. Married women were not allowed to travel
outside the country without prior permission from their husbands.

e. Internally Displaced Persons

Not applicable.

f. Protection of Refugees

According to UNHCR, the government granted registration to 951,142 Afghans
under a system known as Amayesh, through which authorities provide refugees
with cards identifying them as de facto refugees. The cards enable refugees to
access basic services and facilitate the issuance of work permits. The most recent
Amayesh XIV renewal exercise started on May 28. In addition to registered
refugees, the government hosted some 450,000 Afghans who hold Afghan
passports and Iranian visas and an estimated 1.5 to 2.0 million undocumented
Afghans. The country also hosted 28,268 Iraqi refugees.

Abuse of Migrants, Refugees, and Stateless Persons: HRW and other groups
reported the government continued its mistreatment of many Afghans, including
physical abuse by security forces, deportations, forced recruitment to fight in Syria,
detention in unsanitary and inhuman conditions, forced payment for transportation
to and accommodation in deportation camps, forced labor, forced separation from
families, restricted movement within the country, and restricted access to education
or jobs.

Refoulement: According to activist groups and NGOs, authorities routinely
arrested Afghans without Amayesh cards and sometimes threatened them with
deportation. According to the International Organization for Migration, from the
beginning of the year to August, more than 219,254 undocumented Afghans


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returned to Afghanistan, with many claiming they were pressured to leave. More
than 273,089 were deported there throughout the year.

Access to Asylum: The law provides for the granting of asylum or refugee status
to qualified applicants. While the government reportedly has a system for
providing protection to refugees, UNHCR did not have information regarding how
the country made asylum determinations. According to HRW, the government
continued to block many Afghans from registering to obtain refugee status.

Afghans not registered under the Amayesh system who had migrated during past
decades of conflict in their home country continued to be denied access to an
asylum system or access to register with the United Nations as refugees. NGOs
reported many of these displaced asylum seekers believed they were pressured to
leave the country but could not return to Afghanistan because of the security
situation in their home provinces.

Freedom of Movement: Refugees faced certain restrictions on in-country
movement and faced restrictions from entering certain provinces, according to
UNHCR. They can apply for laissez-passer documents allowing them to move
between those provinces where Afghans were allowed to go.

Employment: Only refugees with government-issued work permits were able to
work. NGO sources reported Amayesh cards were difficult to renew and were
often prohibitively expensive for refugees to maintain, due to steep annual renewal
fees.

Access to Basic Services: Amayesh cardholders had access to education and
health care, including vaccinations, prenatal care, maternal and child health, and
family planning from the Ministry of Health. All registered refugees can enroll in
a basic health insurance package similar to the package afforded to citizens, which
covered hospitalization and paraclinical services (medicine, doctor’s visits,
radiology, etc.). During the year UNHCR covered the insurance premium for
92,000 of the most vulnerable refugees, including refugees who suffer from special
diseases and their families. The remaining refugee population can enroll in health
insurance by paying the premium themselves during four enrollment windows
throughout the year.

The government claimed to grant Afghan children access to schools. More than
480,000 Afghan children were enrolled in primary and secondary schools, in
addition to 103,000 undocumented Afghan children. According to media

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reporting, however, Afghans continued to have difficulty gaining access to
education.

Most provinces’ residency limitations on refugees effectively denied them access
to public services, such as public housing, in the restricted areas of those
provinces.

g. Stateless Persons

There were no accurate numbers on how many stateless persons resided in the
country. Stateless persons included those without birth documents or refugee
identification cards. They were subjected to inconsistent government policies and
relied on charities, principally domestic, to obtain medical care and schooling.
Authorities prohibited stateless persons from receiving formal government support
or travel documents.

In October the Guardian Council approved an amendment to the civil code
granting Iranian citizenship to the children of Iranian women married to foreign
men. Previously, female citizens were not able to transmit citizenship to their
children or to noncitizen spouses, and their dependents could not apply for
citizenship until they lived in Iran for at least 18 years. The children and spouses
of Iranian men were granted citizenship automatically. Under the new law, women
must still apply for nationality for their children, and children who turn 18 can
apply for nationality themselves. Human rights activists noted concern that the
amended law requires the Intelligence Ministry and the Intelligence Organization
of the IRGC to certify that no “security problem” exists before approving
citizenship for these specific applications, and this vaguely defined security
provision could be used arbitrarily to disqualify applicants if they or their parents
are seen as critical of the government. According to media reports, between
400,000 and one million persons lacked Iranian nationality despite having an
Iranian citizen mother, due to prior limitations on citizenship transmission (see
section 6, Children).

Section 3. Freedom to Participate in the Political Process

The constitution provides citizens the ability to choose the president, as well as
members of the Assembly of Experts and parliament, provided all have been vetted
and approved by the Guardian Council. Elections are based on universal suffrage.
Candidate vetting conducted by unelected bodies, however, abridged this right in
all instances. Reported government constraints on freedom of expression and the

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media; peaceful assembly; association; and the ability freely to seek, receive, and
impart information and campaign also limited citizens’ right to choose freely their
representatives in elections.

The Assembly of Experts, which is composed of 86 popularly elected clerics who
serve eight-year terms, elects the supreme leader, who acts as the de facto head of
state and may be removed only by a vote of the assembly. The Guardian Council
vets and qualifies candidates for all Assembly of Experts, presidential, and
parliamentary elections based on criteria that include candidates’ allegiance to the
state and adherence to Shia Islam. The council consists of six clerics appointed by
the supreme leader and six jurists nominated by the head of the judiciary (who is
appointed by the supreme leader) and approved by parliament.

The supreme leader exerted significant influence over the activities of elected
officials. For example, on November 17, according to press reports, the supreme
leader’s office sent a letter to parliament urging members of parliament to end
debate on fuel rationing and pricing, which spurred major countrywide protests
two days earlier.

Elections and Political Participation

Recent Elections: Presidential and local council elections were held in 2017. The
country’s electoral system continued to fall short of international standards for free
and fair elections primarily because of the Guardian Council’s controlling role in
the political process, including determining which individuals could run for office
and, in certain instances, arbitrarily removing winning candidates.

In 2017 the Guardian Council approved six Shia male candidates for president
from a total candidate pool of 1,636 individuals. Voters re-elected Hassan
Rouhani as president.

Candidates for local elections were vetted by monitoring boards established by
parliament, resulting in the disqualification of a number of applicants. Observers
asserted that reformist candidates such as Abdollah Momeni, Ali Tajernia, and
Nasrin Vaziri, previously imprisoned for peacefully protesting the 2009 election,
were not allowed to run due to their political views.

Political Parties and Political Participation: The constitution provides for the
formation of political parties, but the Interior Ministry granted licenses only to
parties deemed to adhere to the “governance of the jurist” system of government

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embodied in the constitution. Registered political organizations that adhered to the
system generally operated without restriction, but most were small, focused around
an individual, and without nationwide membership. Members of political parties
and persons with any political affiliation that the regime deemed unacceptable
faced harassment and sometimes violence and imprisonment. The government
maintained bans on several opposition organizations and political parties. Security
officials continued to harass, intimidate, and arrest members of the political
opposition and some reformists (see section 1.e.).

Participation of Women and Minorities: Women faced significant legal, religious,
and cultural barriers to political participation. According to the Guardian
Council’s interpretation, the constitution bars women, as well as persons of foreign
origin, from serving as supreme leader or president, as members of the Assembly
of Experts, the Guardian Council, or the Expediency Council, and as certain types
of judges.

The Guardian Council disqualified all 137 women who registered as candidates for
the 2017 presidential election. Almost 18,000 female candidates, or 6.3 percent of
all candidates, were permitted to run for positions in the 2017 local elections.

All cabinet-level ministers were men. A limited number of women held senior
government positions, including that of vice president for legal affairs and vice
president for women and family affairs. According to the World Bank, women
make up 6 percent of members of parliament.

Practitioners of a religion other than Shia Islam are barred from serving as supreme
leader or president, as well as from being a member in the Assembly of Experts,
Guardian Council, or Expediency Council. The law reserves five seats in
parliament for members of recognized minority religious groups, although
minorities may also be elected to nonreserved seats. The five reserved seats were
filled by one Zoroastrian, one Jew, and three Christians. There were no non-
Muslims in the cabinet or on the Supreme Court.

In 2018 the Expediency Council, the country’s highest arbiter of disputes between
state branches, amended the Law on the Formation, Duties, and Election of
National Islamic Councils to affirm the right of constitutionally recognized
religious minorities to run in local elections.

Section 4. Corruption and Lack of Transparency in Government


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The law provides criminal penalties for official corruption, but the government
implemented the law arbitrarily, sometimes pursuing apparently legitimate
corruption cases against officials, while at other times, bringing politically
motivated charges against regime critics or political opponents. Officials
continued to engage in corrupt practices with impunity. Many expected bribes for
providing routine services or received bonuses outside their regular work, and
individuals routinely bribed officials to obtain permits for otherwise illegal
construction.

Endowed religious charitable foundations, or bonyads, accounted for one-quarter
to one-third of the country’s economy, according to some experts. Government
insiders, including members of the military and clergy, ran these tax-exempt
organizations, which are defined under law as charities. Members of the political
opposition and international corruption watchdog organizations frequently accused
bonyads of corruption. Bonyads received benefits from the government, but no
government agency is required to approve their budgets publicly.

Numerous companies and subsidiaries affiliated with the IRGC engaged in trade
and business activities, sometimes illicitly, including in the telecommunications,
mining, and construction sectors. Other IRGC entities reportedly engaged in
smuggling pharmaceutical products, narcotics, and raw materials. The domestic
and international press reported that individuals with strong government
connections had access to foreign currency at preferential exchange rates, allowing
them to exploit a gap between the country’s black market and official exchange
rates.

Corruption: The judiciary continued an anticorruption campaign that observers
viewed as motivated by several factors, including political infighting and replacing
lost revenue due to economic challenges. The supreme leader approved a request
from the head of the judiciary in 2018 to set up special revolutionary courts to try
individuals for economic crimes, seeking maximum sentences for those who
“disrupted and corrupted” the economy. He was quoted saying that punishments
for those accused of economic corruption, including government officials and
those from the military, should be carried out swiftly. Amnesty International
criticized the courts’ lack of fair trial and due process guarantees.

In October a court reduced a seven-year prison sentence handed down in May to
Hossein Fereydoun, the brother of President Rouhani, to five years. The exact
nature of the charges was unclear, but he was convicted of receiving bribes. Some


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observers asserted the case was motivated by retribution sought by hardline
political and judicial figures.

In November, Radio Farda reported that as a part of the judiciary’s drive against
corruption, a number of employees of the State Deeds and Properties Organization
were arrested on charge including “taking huge bribes, forgery, and cooperation
with profiteers to appropriate public and private property.” These arrests came in
tandem with the arrest of the Rudehen City Council chairman, Manouchehr
Hemmat Najafi, on charges of embezzlement and bribery, and of 25 other
individuals in connection to a case of unlicensed construction projects. As of
December 9, details of the number of arrested employees and their positions have
not been disclosed.

Financial Disclosure: Regulations require government officials, including cabinet
ministers and members of the Guardian Council, Expediency Council, and
Assembly of Experts, to submit annual financial statements to the government
inspectorate. Little information was available on whether the government
effectively implemented the law, whether officials obeyed the law, or whether
financial statements were publicly accessible.

Section 5. Governmental Attitude Regarding International and
Nongovernmental Investigation of Alleged Abuses of Human Rights

The government restricted the operations of and did not cooperate with local or
international human rights NGOs investigating alleged violations of human rights.
The government restricted the work of domestic activists and often responded to
their inquiries and reports with harassment, arrests, online hacking, and monitoring
of individual activists and organization workplaces.

By law NGOs must register with the Ministry of Interior and apply for permission
to receive foreign grants. Independent human rights groups and other NGOs faced
harassment because of their activism, as well as the threat of closure by
government officials, following prolonged and often arbitrary delays in obtaining
official registration.

During the year the government prevented some human rights defenders, civil
society activists, journalists, and scholars from traveling abroad. Human rights
activists reported intimidating telephone calls, threats of blackmail, online hacking
attempts, and property damage from unidentified law enforcement and government
officials. The government summoned activists repeatedly for questioning and

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confiscated personal belongings such as mobile phones, laptops, and passports.
Government officials sometimes harassed and arrested family members of human
rights activists. Courts routinely suspended sentences of convicted human rights
activists, leaving open the option for authorities to arrest or imprison individuals
arbitrarily at any time on the previous charges.

In his July report, UNSR Rehman expressed concern about the arrest, arbitrary
detention, and sentencing of human rights defenders, journalists, and lawyers. He
noted acts of intimidation and reprisals in detention, including torture and
mistreatment, as well as reports of reprisals against human rights defenders and
journalists for engaging the UNSR and cooperating with other UN mechanisms.

According to NGO sources, including HRW and Amnesty International, the
government’s rights record and its level of cooperation with international rights
institutions remained poor. The government continued to deny requests from
international human rights NGOs to establish offices in or to conduct regular
investigative visits to the country. The most recent visit of an international human
rights NGO was by Amnesty International in 2004 as part of the EU’s human
rights dialogue with the country.

The United Nations or Other International Bodies: During the year the
government continued to deny repeated requests by the UNSR on the situation of
human rights in Iran to visit the country.

On November 15, for the seventh consecutive year, the UN General Assembly
adopted a resolution expressing serious concern about the country’s continuing
human rights violations. The resolution repeated its call for the country to
cooperate with UN special mechanisms, citing the government’s failure to approve
any request from a UN thematic special procedures mandate holder to visit the
country in more than a decade. It drew attention to the government’s continued
failure to allow the UNSR into the country to investigate human rights abuses
despite repeated requests. The most recent visit by a UN human rights agency to
the country was in 2005.

Government Human Rights Bodies: The High Council for Human Rights, headed
by Mohammad Javad Larijani, is part of the judicial branch of the government and
lacks independence. The council continued to defend the imprisonment of high-
profile human rights defenders and political opposition leaders, despite domestic
and international pressure. Larijani continued to call for an end to the position of


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the UNSR. There was no information available on whether the council challenged
any laws or court rulings during the year.

Section 6. Discrimination, Societal Abuses, and Trafficking in Persons

Women

Rape and Domestic Violence: Rape is illegal and subject to strict penalties,
including death, but it remained a problem. The law considers sex within marriage
consensual by definition and, therefore, does not address spousal rape, including in
cases of forced marriage. Most rape victims likely did not report the crime because
they feared official retaliation or punishment for having been raped, including
charges of indecency, immoral behavior, or adultery, the last of which carries the
death penalty. Rape victims also feared societal reprisal or ostracism.

For a conviction of rape, the law requires four Muslim men or a combination of
three men and two women or two men and four women, to have witnessed a rape.
A woman or man found making a false accusation of rape is subject to 80 lashes.
In January, IranWire reported the suspicious death of Zahra Navidpour, a woman
who had accused Salman Khodadadi, chairman of the parliament’s Social Affairs
Committee and a former IRGC commander, of raping her. On January 6,
Navidpour was found dead at her home; after her body was rushed to the hospital,
the medical examiner provided no reason for the woman’s death, leading to
speculation that she had either committed suicide or been killed. Navidpour died
while Khodadadi was on trial for having an illegitimate affair; the court sentenced
him to two years’ exile, a two-year ban on serving in public office, and 99 lashes;
however, the Supreme Court dismissed the lower court’s verdict.

In May local and international media reported that Mohammad Ali Najafi, a former
vice president and mayor of Tehran, had confessed to shooting to death one of his
two wives. Najafi resigned as mayor of Tehran in 2018 after he was criticized for
attending a dance performance by young girls. He was sentenced to death for the
murder, but his wife’s family reportedly waived the death penalty, as allowed by
law. He also received a two-year jail sentence for possessing an illegal firearm.

The law does not prohibit domestic violence. Authorities considered abuse in the
family a private matter and seldom discussed it publicly. In July, according to a
HRANA report, the head of the medical examiner’s officer of Tehran Province
announced that more than 16,420 cases of domestic violence had been reported to
the office, a rise from 2018.

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Female Genital Mutilation/Cutting (FGM/C): The law criminalizes FGM/C and
states, “the cutting or removing of the two sides of female genitalia leads to diyeh
(financial penalty or blood money) equal to half the full amount of diyeh for the
woman’s life.”

Little current data was available on the practice inside the country, although older
data and media reports suggested it was most prevalent in Hormozgan, Kurdistan,
Kermanshah, and West Azerbaijan Provinces.

Other Harmful Traditional Practices: There were no official reports of killings
motivated by “honor” or other harmful traditional practices during the year,
although human rights activists reported that such killings continued to occur,
particularly among rural and tribal populations.

The law reduces punitive measures for fathers and other family members who are
convicted of murder or physically harming children in domestic violence or “honor
killings.” If a man is found guilty of murdering his daughter, the punishment is
between three and 10 years in prison rather than the normal death sentence or
payment of diyeh for homicide cases.

On October 23, the Guardian Council reportedly approved a bill increasing
sentences for perpetrators of “acid attacks,” in which the perpetrators throw acid
generally on women victims for perceived violations of social norms that
discriminate against women.

Sexual Harassment: The law addresses sexual harassment in the context of
physical contact between men and women and prohibits physical contact between
unrelated men and women. There was no reliable data on the extent of sexual
harassment, but women and human rights observers reported that sexual
harassment was the norm in many workplaces. There were no known government
efforts to address this problem.

Coercion in Population Control: There were no reports of coerced abortion or
involuntary sterilization.

Discrimination: The constitution provides for equal protection for women under
the law in conformity with its interpretation of Islam. The government did not
enforce the law, and provisions in the law, particularly sections dealing with family
and property law, discriminate against women. Judicial harassment, intimidation,

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detention, and smear campaigns significantly challenged the ability of civil society
organizations to fight for and protect women’s rights.

In October the Guardian Council approved an amendment to the country’s civil
code that allows Iranian women married to foreign men to transmit citizenship to
their children (see section 2.f.). Ahmad Meidari, the deputy of the Ministry of
Social Welfare, was reported estimating in January that 49,000 children would
benefit if the legislation were enacted. The government does not recognize
marriages between Muslim women and non-Muslim men, irrespective of their
citizenship. The law states that a virgin woman or girl wishing to wed needs the
consent of her father or grandfather or the court’s permission.

The law permits a man to have as many as four wives and an unlimited number of
sigheh (temporary wives), based on a Shia custom under which couples may enter
into a limited-time civil and religious contract, which outlines the union’s
conditions.

A woman has the right to divorce if her husband signs a contract granting that
right; cannot provide for his family; has violated the terms of their marriage
contract; or is a drug addict, insane, or impotent. A husband is not required to cite
a reason for divorcing his wife. The law recognizes a divorced woman’s right to
part of shared property and to alimony. These laws were not always enforced.

The government actively suppressed efforts to build awareness among women of
their rights regarding marriage and divorce. According to a CHRI report, in
September 2018 the IRGC Intelligence Organization arrested Hoda Amid, a human
rights attorney, and Najmeh Vahedi, a sociologist and women’s rights activist,
three days before they were supposed to host a workshop about the country’s
marriage laws, which they had organized with a legal permit. One of the purposes
of the workshop was to teach women how to expand their rights with legally
binding prenuptial contracts.

The law provides divorced women preference in custody for children up to age
seven, but fathers maintain legal guardianship rights over the child and must agree
on many legal aspects of the child’s life (such as issuing travel documents,
enrolling in school, or filing a police report). After the child reaches the age of
seven, the father is granted custody unless he is proven unfit to care for the child.

Women sometimes received disproportionate punishment for crimes such as
adultery, including death sentences. Islamic law retains provisions that equate a

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woman’s testimony in a court of law to one-half that of a man’s and value a
woman’s life as one-half that of a man’s. According to the law, the diyeh paid in
the death of a woman is one-half the amount paid in the death of a man, with the
exception of car accident insurance payments. According to a CHRI report, in July
the government declared equality between men and women in the payment of
blood money. Per the Supreme Court ruling, the amount paid for the intentional or
unintentional physical harm to a woman will still be one-half the blood money as
that paid for a man, but the remaining difference will now be paid from a publicly
funded trust.

Women have access to primary and advanced education. Quotas and other
restrictions nonetheless limited women’s admissions to certain fields and degree
programs.

The Statistical Center of Iran reported during the year that the jobless rate among
women ages 15 to 19 was 35 percent. All women’s participation in the job market
remained as low as 16 percent. Women reportedly earned 41 percent less than men
for the same work. Unemployment among women in the country was twice as
high as it was among men.

Women continued to face discrimination in home and property ownership, as well
as access to financing. In cases of inheritance, male heirs receive twice the
inheritance of their female counterparts. The government enforced gender
segregation in many public spaces. Women must ride in a reserved section on
public buses and enter some public buildings, universities, and airports through
separate entrances.

The law provides that a woman who appears in public without appropriate attire,
such as a cloth scarf veil (hijab) over the head and a long jacket (manteau), or a
large full-length cloth covering (chador), may be sentenced to flogging and fined.
Absent a clear legal definition of “appropriate attire” or of the related punishment,
women (and men) were subjected to the opinions of various disciplinary and
security force members, police, and judges.

In May, CHRI reported that authorities arrested 30 individuals, including both men
and women, who were practicing yoga inside a home in the city of Gorgan. The
individuals were accused of wearing “inappropriate clothing” and engaging in
“indecent activities.” Several individuals reported such arrests were not
uncommon but that public officials rarely acknowledged them.


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Protests, beating, and arrests continued as security forces cracked down on
peaceful nationwide protests against dress restrictions. CHRI reported that since
2018 at least 44 women had been arrested for peacefully protesting the mandatory
dress code. According to media reports in June, the government introduced 2,000
new morality police units to manage what officials called “increasing defiance” of
the compulsory hijab law.

In April security forces arrested Yasaman Aryani, her mother Monireh Arabshahi,
and Mojgan Keshavarz after they posted a video for International Women’s Day.
In the video the women are seen walking without headscarves through a Tehran
metro train, handing flowers to female passengers.

Numerous news outlets reported that in August a revolutionary court sentenced
Arabshahi, Aryani, and Keshavarz to 16, 16, and 23 years in prison, respectively,
for “spreading propaganda against the system” and “inciting corruption and
prostitution.”

In May, CHRI reported that authorities had released Vida Movahedi eight months
after she was arrested for peacefully protesting the hijab law. Movahedi was
initially arrested in October 2018 after she stood on a utility box on Revolution
Street in Tehran, removed her headscarf, and waved it on a stick in defiance.

On June 22, according to a video posted to Instagram by activist Masih Alinejad,
plainclothes police violently dragged a 15-year-old girl into a police car for not
obeying a directive to put on a hijab. Tehran police confirmed the arrest two days
later, stating that the girl and four of her friends “insulted the agents” after refusing
to respect “public moral and civil codes.”

According to international media reports, in June security guards attacked women
trying to enter a stadium in Tehran to watch a men’s soccer match between Iran
and Syria. In September, Sahar Khodayari, known as “Blue Girl,” died from
severe burns caused by self-immolation after police arrested and later released her
from Qarchak Prison on bail on charges of “improperly wearing hijab” and defying
the country’s ban on female spectators from viewing soccer and other sports in
public stadiums. Following Khodayari’s suicide and under pressure from the
world soccer governing body (FIFA), the government permitted approximately
3,500 women to attend the October 10 World Cup qualifier match between Iran
and Cambodia at Azadi Stadium, which has an estimated capacity of 78,000.
Amnesty International labelled the government’s last-minute permission a “cynical
publicity stunt” to “whitewash their image” following the death of Khodayari.

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As noted by the former UNSR and other organizations, female athletes have been
traditionally barred from participating in international tournaments, either by the
country’s sport agencies or by their husbands. There were, however, cases
throughout the year of female athletes being permitted to travel internationally to
compete.

Children

Birth Registration: Prior to October only a child’s father could convey citizenship,
regardless of the child’s country of birth or mother’s citizenship. Legislation
passed and approved in October provides Iranian mothers the right to apply for
citizenship for children born to fathers with foreign citizenship (see section 2.f. and
section 6, Women). The new law also includes a stipulation of obtaining a security
clearance from the security agencies prior to receiving approval. Birth within the
country’s borders does not confer citizenship, except when a child is born to
unknown parents. The law requires that all births be registered within 15 days.

Education: Although primary schooling until age 11 is free and compulsory for
all, media and other sources reported lower enrollment in rural areas, especially for
girls.

Children without state-issued identification cards are denied the right to education.
In her March 2018 report, former UNSR Jahangir noted that in Sistan va
Baluchestan Province, the Cabinet of Ministers requested the Ministry of
Education to issue a special card for children without birth certificates so they
could attend school. As a result, more than 20,000 children who had received such
cards registered for school, and 19,000 were allowed to attend. In his February
report, current UNSR Rehman expressed concern over access to education for
minority children, including references to high primary school dropout rates for
ethnic minority girls living in border provinces.

Child Abuse: There was little information available on how the government dealt
with child abuse. The law states, “Any form of abuse of children and juveniles that
causes physical, psychological, or moral harm and threatens their physical or
mental health is prohibited,” and such crimes carry a maximum sentence of three
months in confinement or a fine of 10 million rials ($230).

Early and Forced Marriage: The legal minimum age of marriage for girls is 13, but
girls as young as nine years old may be married with permission from a court and

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their fathers. In 2018 UNICEF reported that 17 percent of girls in the country were
married before reaching age 18 and that approximately 40,000 were married before
15. In March 2018 former UNSR Jahangir stated this number was likely higher, as
thousands of underage marriages were not reported. The issue became a subject of
national debate in February when a charity group reported on the case of “Raha,”
an 11-year-old girl who was reportedly raped by a nearly 50-year-old man she was
forced to marry. Authorities reportedly arrested the man on February 11 and
nullified the marriage.

Sexual Exploitation of Children: The legal age requirements for consensual sex
are the same as those for marriage, as sex outside of marriage is illegal. There are
no specific laws regarding child sexual exploitation, with such crimes either falling
under the category of child abuse or sexual crimes of adultery. The law does not
directly address sexual molestation nor provide a punishment for it.

According to CHRI, the legal ambiguity between child abuse and sexual
molestation could lead to child sexual molestation cases being prosecuted under
adultery law. While no separate provision exists for the rape of a child, the crime
of rape, regardless of the victim’s age, is potentially punishable by death.

Displaced Children: There were reports of thousands of Afghan refugee children
in the country, many of whom were born in Iran but could not obtain identity
documents. These children were often unable to attend schools or access basic
government services and were vulnerable to labor exploitation and trafficking.

UNHCR stated school enrollment among refugees was generally higher outside the
20 settlements, where more resources were available and where 97 percent of the
refugees reside.

International Child Abductions: The country is not a party to the 1980 Hague
Convention on the Civil Aspects of International Child Abduction. See the
Department of State’s Annual Report on International Parental Child Abduction at
https://travel.state.gov/content/travel/en/International-Parental-Child-
Abduction/for-providers/legal-reports-and-data/reported-cases.html.

Anti-Semitism

The law recognizes Jews as a religious minority and provides for their
representation in parliament. According to the Tehran Jewish Committee, the
population includes approximately 9,000 Jews. Members of the Iranian Jewish

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community are reportedly subject to government restrictions and discrimination.
Government officials continued to question the history of the Holocaust, and anti-
Semitism remained a pervasive problem. In May, President Rouhani implied
Jewish control over various Western interests, saying that speeches by foreign
officials criticizing Iran were “written by Zionists word for word.” Cartoons in
state-run media outlets repeatedly depicted foreign officials as puppets of Jewish
control.

Trafficking in Persons

See the Department of State’s Trafficking in Persons Report at
https://www.state.gov/trafficking-in-persons-report/.

Persons with Disabilities

In 2018 parliament adopted the Law for the Protection of the Rights of Persons
with Disabilities. According to HRW, the law increases pensions and extends
insurance coverage to disability-related health-care services, but it does not
explicitly prohibit discrimination. No information was available regarding
authorities’ effectiveness in enforcing the law. The law prohibits those with visual,
hearing, or speech disabilities from running for seats in parliament. While the law
provides for government-funded vocational education for persons with disabilities,
domestic news reports noted vocational centers were located only in urban areas
and unable to meet the needs of the entire population.

In October, HRW and CHRI reported persons with disabilities remained cut off
from society, a major obstacle being a mandatory government medical test that can
exclude children from the public school system. They continued to face stigma
and discrimination from government social workers, health-care workers, and
others. Many persons with disabilities remained unable to participate in society on
an equal basis. The law provides for public accessibility to government-funded
buildings, and new structures appeared to comply with these standards. There
were efforts to increase access for persons with disabilities to historical sites.
Government buildings that predated existing accessibility standards remained
largely inaccessible, and general building accessibility, including access to toilets,
for persons with disabilities remained a problem. Persons with disabilities had
limited access to informational, educational, and community activities. CHRI
reported in 2018 that refugees with disabilities, particularly children, were often
excluded or denied the ability to obtain the limited state services provided by the
government.

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National/Racial/Ethnic Minorities

The constitution grants equal rights to all ethnic minorities, allowing minority
languages to be used in the media. The law grants the right of citizens to learn,
use, and teach their own languages and dialects. In practice minorities did not
enjoy equal rights, and the government consistently barred use of their languages
in school as the language of instruction.

The government disproportionately targeted minority groups, including Kurds,
Ahwazis, Azeris, and Baluchis, for arbitrary arrest, prolonged detention,
disappearances, and physical abuse. These ethnic minority groups reported
political and socioeconomic discrimination, particularly in their access to
economic aid, business licenses, university admissions, job opportunities,
permission to publish books, and housing and land rights.

Another widespread complaint among ethnic minority groups, particularly among
Ahwazis, Azeris and Lors, was that the government diverted and mismanaged
natural resources, primarily water, often for the benefit of IRGC-affiliated
contractors. According to reports from international media and human rights
groups, these practices devastated the local environment on which farmers and
others depended for their livelihoods and well-being, resulting in forced migration
and further marginalization of these communities.

The law, which requires religious screening and allegiance to the concept of
“governance by the jurist,” not found in Sunni Islam, impaired the ability of Sunni
Muslims (many of whom are also Baluch, Ahwazi, or Kurdish) to integrate into
civic life and to work in certain fields.

Human rights organizations observed that the government’s application of the
death penalty disproportionately affected ethnic minorities. Authorities reportedly
subjected members of minority ethnicities and religious groups in pretrial detention
repeatedly to more severe physical punishment, including torture, than other
prisoners, regardless of the type of crime of which they were accused.

The estimated eight million ethnic Kurds in the country frequently campaigned for
greater regional autonomy. The government continued to use the law to arrest and
prosecute Kurds for exercising their rights to freedom of expression and
association. The government reportedly banned Kurdish-language newspapers,


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journals, and books and punished publishers, journalists, and writers for opposing
and criticizing government policies.

Authorities suppressed legitimate activities of Kurdish NGOs by denying them
registration permits or bringing security charges against persons working with such
organizations. Authorities did not prohibit the use of the Kurdish language in
general but did not offer education in Kurdish in public schools. UNSR Rehman
stated in his July report concern regarding the reported persecution of Kurdish
language teachers, including Zara Mohammadi, arrested and detained by
authorities on May 23 for giving private Kurdish lessons without a permit in
Sanandaj.

According to the same UN report, in the first six months of the year, 115 Kurdish
citizens were arrested for charges related to membership in Kurdish political
parties and 84 for participating in civic activities such as organizing Nowruz
celebrations or managing networks on social media. International human rights
observers, including the IHRDC, stated that the country’s estimated two million
Ahwazi Arabs, representing 110 tribes, faced continued oppression and
discrimination. Ahwazi rights activists reported the government continued to
confiscate Ahwazi property to use for government development projects, refusing
to recognize the paper deeds from the prerevolutionary era.

According to UNSR Rehman’s July report, his office received information that the
IRGC was involved in redirecting floodwater in the spring towards local farms to
preserve oil reserves and equipment in Khuzestan Province. In April media and
NGOs reported that police arrested social media users and Arab flood relief
volunteers and charged them with “broadcasting distracting news and flood
rumors.” They remained detained in Khuzestan.

Ahwazi human rights groups reported the government rounded up hundreds of
Ahwazis following the September 2018 attack on a military parade in Ahwaz
(estimates reported in November 2018 ranged from 600 to more than 800 arrests),
while the state-run Tasnim news agency reported the arrest of 22 persons in
connection with the attack (see section 1.a.). Ahwazi human rights groups also
reported instances of torture of detainees in the Intelligence Ministry detention
center in Ahwaz.

Ethnic Azeris, who number more than 18 million, or approximately 23-25 percent
of the population, were more integrated into government and society than other
ethnic minority groups and included the supreme leader. Azeris reported the

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government discriminated against them by harassing Azeri activists or organizers
and changing Azeri geographic names.

UNSR Rehman stated in his July report that there were 82 Azeris arbitrarily
detained on national security-related charges with sentences of up to six years.
This figure includes activists and supporters of the soccer club Tiraxtur who were
arrested and detained on May 2 for leading pro-Azeri chants at a soccer match at
Sehend Stadium in Tabriz.

According to reports, the government tried to prevent thousands of mostly Azeri
speaking activists from meeting every year at Babak Fortress to celebrate
peacefully the birthday of a historic figure, Babak Khorramdin. The annual
gathering has general overtones of Azeri nationalism. Amnesty and HRANA
reported that Azeri law student and activist Ebrahim Nouri was arrested on 30
occasions, including at Babak Fortress, and accused of promoting propaganda
against the government and “separatism in Azerbaijan.”

Local and international human rights groups alleged discrimination during the year
against the Baluchi ethnic minority, estimated at between 1.5 and two million
persons. Areas with large Baluchi populations were severely underdeveloped and
had limited access to education, employment, health care, and housing; Baluchi
activists reported that more than 70 percent of the population lived below the
poverty line.

According to activist reports, the law limited Sunni Baluchis’ employment
opportunities and political participation. Activists reported that throughout the
year, the government sent hundreds of Shia missionaries to areas with large Sunni
Baluch populations to try to convert the local population. According to Baluchi
rights activists, Baluchi journalists and human rights activists faced arbitrary arrest,
physical abuse, and unfair trials.

Acts of Violence, Discrimination, and Other Abuses Based on Sexual
Orientation and Gender Identity

The law criminalizes consensual same-sex sexual activity, which is punishable by
death, flogging, or a lesser punishment. The law does not distinguish between
consensual and nonconsensual same-sex intercourse, and NGOs reported this lack
of clarity led to both the victim and the perpetrator being held criminally liable
under the law in cases of assault. The law does not prohibit discrimination based
on sexual orientation and gender identity. According to international and domestic

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media reports, there was at least one case during the year in which an alleged
criminal was executed for sodomy-related charges. While few details were
available for specific cases, LGBTI activists expressed concern that the
government executed LGBTI individuals under the pretext of more severe, and
possibly specious, criminal charges such as rape. In June the foreign minister
appeared to defend executions of LGBTI persons for their status or conduct. After
being asked by a journalist in Germany why the country executes “homosexuals,”
the foreign minister stated, “Our society has moral principles. And we live
according to these principles. These are moral principles concerning the behavior
of people in general. And that means that the law is respected and the law is
obeyed.”

Security forces harassed, arrested, and detained individuals they suspected of being
LGBTI. In some cases security forces raided houses and monitored internet sites
for information on LGBTI persons. Those accused of “sodomy” often faced
summary trials, and evidentiary standards were not always met. The Iranian
LGBTI activist group 6Rang noted that individuals arrested under such conditions
were traditionally subjected to forced anal or sodomy examinations--which the
United Nations and World Health Organization stated can constitute torture--and
other degrading treatment and sexual insults. Punishment for same-sex sexual
activity between men was more severe than between women.

The government censored all materials related to LGBTI status or conduct.
Authorities particularly blocked websites or content within sites that discussed
LGBTI issues, including the censorship of Wikipedia pages defining LGBTI and
other related topics. There were active, unregistered LGBTI NGOs and activists in
the country, a number of whom were arrested or charged for LGBTI-related
activities during the year.

On December 13, Radio Farda reported that Rezvaneh Mohammadi, a gender-
equality activist, was sentenced to five years in prison by Branch 28 of the
revolutionary court in Tehran, presided over by Judge Mohammad Moghiseh,
under the charge of “collusion against national security by seeking to normalize
homosexual relations.” NGOs noted this was the first time an activist had faced
such an accusation in the country. According to CHRI, authorities arrested
Mohammadi in September 2018 and held her in solitary confinement for several
weeks at Evin Prison, where they pressured her, including with threats of rape, to
confess to receiving money to overthrow the government. Hate-crime laws or
other criminal justice mechanisms do not exist to aid in the prosecution of bias-
motivated crimes.

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The law requires all male citizens older than age 18 to serve in the military but
exempts gay men and transgender women, who are classified as having mental
disorders. New military identity cards listed the subsection of the law dictating the
exemption. According to the NGO 6Rang, this practice identified gay or
transgender individuals and put them at risk of physical abuse and discrimination.

NGOs reported authorities pressured LGBTI persons to undergo gender
reassignment surgery. According to a July report by the NGO 6Rang, the number
of private and semigovernmental psychological and psychiatric clinics allegedly
engaging in “corrective treatment” or reparative therapies of LGBTI persons
continued to grow. The NGO 6Rang reported the increased use at such clinics of
electric shock therapy to the hands and genitals of LGBTI persons, prescription of
psychoactive medication, hypnosis, and coercive masturbation to pictures of the
opposite sex. According to the NGO 6Rang, one such institution is called The
Anonymous Sex Addicts Association of Iran, with branches in 18 provinces.

HIV and AIDS Social Stigma

Despite government programs to treat and provide financial and other assistance to
persons with HIV/AIDS, international news sources and organizations reported
that individuals known to be infected with HIV/AIDS faced widespread societal
discrimination. Individuals with HIV/AIDS, for example, continued to be denied
employment as teachers.

Section 7. Worker Rights

a. Freedom of Association and the Right to Collective Bargaining

The constitution provides for freedom of association, but neither the constitution
nor law specifies trade union rights. The law states that workers may establish an
Islamic labor council or a guild at any workplace, but the rights and responsibilities
of these organizations fell significantly short of international standards for trade
unions. In workplaces where workers established an Islamic labor council,
authorities did not permit any other form of worker representation. The law
requires prior authorization for organizing and concluding collective agreements.
Strikes are prohibited in all sectors, although private-sector workers may conduct
“peaceful” campaigns within the workplace. The law does not apply to
establishments with fewer than 10 employees.


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Authorities did not respect freedom of association and the right to collective
bargaining, and the government did not effectively enforce applicable laws. The
government severely restricted freedom of association and interfered in worker
attempts to organize. Labor activism is considered to be a national security
offense, with severe punishments up to and including the death penalty. The law
does not prohibit antiunion discrimination and does not require reinstatement of
workers fired for union activity.

Antiunion discrimination occurred, and the government harassed trade union
leaders, labor rights activists, and journalists during a crackdown on widespread
protests. Independent trade unionists were subject to arbitrary arrests, tortured, and
subjected to harsh sentences.

According to media and NGO reporting, on May 1, International Labor Day, police
violently attacked and arrested at least 35 activists who had gathered for peaceful
demonstrations demanding workers’ rights, organized by 20 independent labor
organizations, in front of parliament. The government barred teachers from
commemorating International Labor Day and Teachers’ Day. Several prominent
teachers and union activists remained in prison or awaited new sentences,
including Mahmoud Beheshti Langroudi (see below).

The Interior Ministry; the Ministry of Cooperatives, Labor, and Social Welfare;
and the Islamic Information Organization determined labor councils’ constitutions,
operational rules, and election procedures. Administrative and judicial procedures
were lengthy. The Workers’ House remained the only officially authorized
national labor organization, and its leadership oversaw, granted permits to, and
coordinated activities with Islamic labor councils in industrial, agricultural, and
service organizations with more than 35 employees.

According to CHRI, the labor councils, which consisted of representatives of
workers and a representative of management, were essentially management-run
unions that undermined workers’ efforts to maintain independent unions. The
councils, nevertheless, sometimes could block layoffs and dismissals. There was
no representative workers’ organization for noncitizen workers.

According to international media reports, security forces continued to respond to
workers’ attempts to organize or conduct strikes with arbitrary arrests and
violence. As economic conditions deteriorated, strikes and worker protests were
numerous and widespread across the country throughout the year, often prompting
a heavy police response. Security forces routinely monitored major worksites.

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According to CHRI, workers were routinely fired and risked arrest for striking, and
labor leaders were charged with national security crimes for trying to organize
workers.

According to a CHRI report, in August 2018 security forces violently suppressed
protests at the Haft Tappeh sugarcane company in the southeast. Haft Tappeh, the
country’s largest sugar production plant, had been the site of continuing protests
against unpaid wages and benefits for more than two years. According to CHRI, at
least five workers were detained and charged with national security crimes but
later released on bail following negotiations between labor representatives and
judicial officials. In May the protests resurfaced in response to the announcement
of a joint indictment issued against five journalists and two labor rights activists.
Sepideh Gholian, Amir Hossein Mohammadifard, Sanaz Allahyari, Ali Amirgholi,
Asal Mohammadi, Esmail Bakhski, and Ali Nejati were charged with “assembly
and collusion against national security,” “forming groups with the intention to
disturb national security,” and “contacts with antistate organizations.”

According to NGO and media reports, as in previous years, a number of trade
unionists were imprisoned or remained unjustly detained for their peaceful
activism. Mehdi Farahi Shandiz, a member of the Committee to Pursue the
Establishment of Labor Unions in Iran, continued serving a three-year sentence,
having been convicted of “insulting the supreme leader” and “disrupting public
order.” There were reports that Shandiz was beaten and tortured in Karaj Prison
and kept for prolonged periods in solitary confinement.

The government continued to arrest and harass teachers’ rights activists from the
Teachers Association of Iran and related unions. In March media outlets reported
continued nationwide teacher strikes demanding better pay, rights to an official
union, and the release of teachers’ rights activists who were jailed during protests
in 2018. That same month Hashem Khastar, a teachers’ rights activist from
Mashhad, was allegedly abducted by unknown individuals, resurfaced shackled to
a bed at a psychiatric hospital, was released, and taken into custody.

According to a CHRI report, Mahmoud Beheshti-Langroudi, the former
spokesman for the Iranian Teachers’ Trade Association (ITTA) jailed since 2017,
continued a 14-year combined sentence for charges associated with his peaceful
defense of labor rights. CHRI reported in July that Beheshti-Langroudi
commenced another hunger strike protesting his unjust sentence, the judiciary’s
refusal to review his case, and the mistreatment of political prisoners. Esmail
Abdi, a mathematics teacher and former secretary general of ITTA, continued a

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six-year prison sentence for labor rights activism. He was arrested in 2015 and
convicted in 2016 for “propaganda against the state” and “collusion against
national security.” CHRI reported in April 2018 that Abdi had written a letter from
Evin Prison criticizing the judiciary’s “arbitrary and illegal rulings” and
“widespread violations of the rights of teachers and workers in Iran.” He decried
the “criminalization of trade unions” and demanded a public trial that he had thus
far been denied.

According to reports from international media and human rights organizations,
truck drivers launched nationwide strikes over low and unpaid wages and stipends
throughout the year. HRANA reported that the government arrested at least 261
drivers in 19 provinces following a round of protests in the fall of 2018. The
drivers were threatened with heavy sentences, and Attorney General Mohammad
Jaafar Montazeri issued a public statement suggesting that those who initiated the
protest should be subject to the death penalty. In October 2018 the International
Transport Workers’ Federation expressed concern over the government’s harsh
crackdown on labor action by truckers across the country, including the threat of
the death penalty against organizers.

b. Prohibition of Forced or Compulsory Labor

The law prohibits all forms of forced or compulsory labor, but the government did
not effectively enforce the law and made no significant effort to address forced
labor during the year. Penalties were not sufficient to deter violations. Conditions
indicative of forced labor sometimes occurred in the construction, domestic labor,
and agricultural sectors, primarily among adult Afghan men and boys younger than
age 18. Family members and others forced children to work.

Also see the Department of State’s Trafficking in Persons Report at
https://www.state.gov/trafficking-in-persons-report/.

c. Prohibition of Child Labor and Minimum Age for Employment

The law does not prohibit the worst forms of child labor. The law prohibits
employment of children younger than age 15 and places restrictions on
employment of children younger than 18, such as prohibiting hard labor or night
work. The law does not apply to domestic labor and permits children to work in
agriculture and some small businesses from the age of 12. The government did not
adequately monitor or enforce laws pertaining to child labor, and child labor


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remained a serious problem. Penalties for violations were not sufficient to deter
violations.

The United Nations in 2016 cited a 2003 law that exempts workshops with fewer
than 10 employees from labor regulations as increasing the risks of economic
exploitation of children. The UN report also noted serious concerns with the large
number of children employed under hazardous conditions, such as in garbage
collection, brick kilns, and industrial workshops, without protective clothing and
for very low pay.

There were reportedly significant numbers of children, especially of Afghan
descent, who worked as street vendors in major urban areas. According to official
estimates, there were 60,000 homeless children, although many children’s rights
organizations estimated up to 200,000 homeless children. The Committee on the
Rights of the Child reported that street children in particular were subjected to
various forms of economic exploitation, including sexual abuse and exploitation by
the public and police officers. Child labor also was used in the production of
carpets and bricks. Children worked as beggars, and there were reports criminals
forced some children into begging rings. According to ISNA, Reza Ghadimi, the
managing director of the Tehran Social Services Organization, said in 2018 that,
according to a survey of 400 child laborers, 90 percent were “molested.”

Also, see the Department of Labor’s List of Goods Produced by Child Labor or
Forced Labor at https://www.dol.gov/agencies/ilab/reports/child-labor/list-of-
goods.

d. Discrimination with Respect to Employment and Occupation

The constitution bars discrimination based on race, gender, disability, language,
and social status “in conformity with Islamic criteria,” but the government did not
effectively enforce these prohibitions. According to the constitution, “everyone
has the right to choose any occupation he wishes, if it is not contrary to Islam and
the public interests and does not infringe on the rights of others.”

Despite this constitutional provision, the government made systematic efforts to
limit women’s access to the workplace, and their participation in the job market
remained as low as 16 percent. Women reportedly earned 41 percent less than men
for the same work. Unemployment among women in the country was twice as
high as it was among men. Hiring practices often discriminated against women,
and the Ministry of Cooperatives, Labor, and Social Welfare guidelines stated that

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men should be given preferential hiring status. An Interior Ministry directive
requires all officials to hire only secretaries of their own gender. Women remained
banned from working in coffee houses and from performing music alongside men,
with very limited exceptions made for traditional music. Women in many fields
were restricted from working after 9 p.m.

Kurds, Ahwazis, Azeris, and Baluchis reported political and socioeconomic
discrimination with regard to their access to economic aid, business licenses, and
job opportunities.

CHRI reported that, according to the director of the State Welfare Organization, 60
percent of persons with disabilities remained unemployed.

e. Acceptable Conditions of Work

In 2018 the Supreme Labor Council, the government body charged with proposing
labor regulations, agreed to raise the minimum monthly wage by 19.8 percent.
There were reported complaints that the minimum wage increase was too low in
light of the plunging value of the Iranian rial against the U.S. dollar, which is used
to price day-to-day goods. The minimum wage is commonly below the poverty
line in rural areas.

The law establishes a maximum six-day, 44-hour workweek with a weekly rest
day, at least 12 days of paid annual leave, and several paid public holidays. Any
hours worked above that total entitles a worker to overtime. The law mandates a
payment above the hourly wage to employees for any accrued overtime and
provides that overtime work is not compulsory. The law does not cover workers in
workplaces with fewer than 10 workers, nor does it apply to noncitizens.

Employers sometimes subjected migrant workers, most often Afghans, to abusive
working conditions, including below-minimum-wage salaries, nonpayment of
wages, compulsory overtime, and summary deportation without access to food,
water, or sanitation facilities during the deportation process. The government did
not effectively enforce the laws related to wages and hours, and occupational
safety and health. Penalties were not sufficient to deter violations.

According to media reports, many workers continued to be employed on temporary
contracts, under which they lacked protections available to full-time, noncontract
workers, and could be dismissed at will. Large numbers of workers employed in
small workplaces or in the informal economy similarly lacked basic protections.

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Low wages, nonpayment of wages, and lack of job security due to contracting
practices continued to contribute to strikes and protests, which occurred throughout
the year.

According to local and international media reports, thousands of teachers, truckers,
and workers from a wide variety of sectors held largescale, countrywide rallies and
protests demanding wage increases and payment of back wages throughout the
year. During the year authorities increased pressure against these protesters
through intimidation, wrongful arrests, and arbitrary charges.

Little information was available regarding labor inspection and related law
enforcement. While the law provides for occupational health and safety standards,
the government sometimes did not enforce these standards in either the formal or
informal sectors. Workers reportedly lacked the power to remove themselves from
situations that endangered their health or safety without jeopardizing their
employment.

Labor organizations alleged that hazardous work environments resulted in the
deaths of thousands of workers annually. In 2018 the state-run Iran Labor News
Agency quoted the head of the Construction Workers Association as estimating
there were 1,200 deaths and 1,500 spinal cord injuries annually among
construction workers, while local media routinely reported on workers’ deaths
from explosions, gas poisoning, electrocution, or similar accidents.




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